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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                   IN THE UNITED STATES DISTRICT COURT                 September 30, 2021
                    FOR THE SOUTHERN DISTRICT OF TEXAS                  Nathan Ochsner, Clerk
                             HOUSTON DIVISION


COMMODITY FUTURES TRADING               §
COMMISSION,                             §
                                        §
                   Plaintiff,           §
                                        §
v.                                      §         CIVIL ACTION NO. H-19-2901
                                        §
EOX HOLDINGS L.L.C., and                §
ANDREW GIZIENSKI,                       §
                                        §
                   Defendants.          §


                       MEMORANDUM OPINION AND ORDER


       This action is brought by plaintiff, the Commodity Futures

Trading Commission (“CFTC” or “Plaintiff”), against defendants, EOX

Holdings      L.L.C.   (“EOX”)    and    Andrew    Gizienski    (“Gizienski”)

(collectively,      “Defendants”),      for   violations   of   the   Commodity

Exchange Act (“CEA”), 7 U.S.C. §§ 1-27f, and the Regulations

promulgated thereunder, 17 C.F.R. parts 1-190, from August of 2013

through May of 2014 (“Relevant Period”).            Pending before the court

are Defendants’ Motion to Amend Revised Docket Control Order to

Grant Them Leave to File Amended Answer Adding Affirmative Defenses

(“Defendants’ Motion to Amend”) (Docket Entry No. 121); Plaintiff’s

Motion for Summary Judgment (“Plaintiff’s MSJ”) (Docket Entry

No. 150); Defendants’ Motion for Summary Judgment on Counts I & II,

and for Partial Summary Judgment on Counts III & IV (“Defendants’

MSJ”) (Docket Entry No. 160); and Defendants’ Motion to Strike

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Improper Declarations Submitted by Plaintiff in Support of Its

Motion     for    Summary   Judgment    (“Defendants’    Motion    to    Strike”)

(Docket Entry No. 171).         For the reasons stated below Defendants’

Motion to Amend will be granted;              Plaintiff’s Motion for Summary

Judgment will be denied; Defendants’ Motion for Summary Judgment

will be granted in part and denied in part; and Defendants’ Motion

to Strike will be granted in part and denied in part.



             I.    Undisputed Facts and Procedural Background

A.     Undisputed Facts

       Plaintiff is a federal agency “charged by Congress with the

administration and enforcement of the [CEA] and the Regulations

promulgated thereunder.”1

       Defendant EOX is a wholly owned subsidiary of OTC Global

Holdings LP (“OTC Global”), an inter-dealer broker in over-the-

counter energy commodities, that has been registered with the CFTC

as an Introducing Broker (“IB”) since August 7, 2009. EOX executes

block      futures   and    options    trades   on   behalf   of   OTC   Global’s

affiliate companies, and has done so since October of 2012.2


       1
      Complaint for Injunctive Relief, Civil Monetary Penalties,
and Other Equitable Relief (“Plaintiff’s Complaint”), Docket Entry
No. 1, p. 3 ¶ 11. Page numbers for docket entries in the record
refer to the pagination inserted at the top of the page by the
court’s electronic filing system, CM/ECF.
       2
      Plaintiff’s Statement of Facts In Support of Its Motion for
Summary Judgment (“Plaintiff’s SOF”), Docket Entry No. 152, p. 1
                                                   (continued...)

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     Futures       contracts   are   agreements      to   purchase    or   sell    a

commodity for delivery or cash settlement in the future at a

specified price.3        A block trade is a transaction that meets or

exceeds     an    exchange-determined      minimum    threshold      quantity     of

futures or options contracts, is privately negotiated, and is

executed away from the open outcry or electronic markets.4

     At all times during the Relevant Period EOX brokers reported

their block trades to the Intercontinental Exchange, i.e., ICE

Futures U.S. (“IFUS”), which is “a board of trade designated as a

contract market, and self-regulatory organization.”5                 With respect

to the futures and options contracts at issue in Plaintiff’s

Complaint,       IFUS   required   block   trades    to   be   reported    to   the

exchange within fifteen (15) minutes from the time of execution.

Block trades made outside of normal trading hours were required to

be reported to the exchange no later than five (5) minutes before

the open of the next trading session for that particular contract.6



     2
      (...continued)
¶¶ 1-2; Defendants’ Counterstatements of Facts on Plaintiff’s
Motion for Summary Judgment (“Defendants’ Counter SOF”), Docket
Entry No. 168, pp. 1-2 ¶¶ 1-2.
     3
         Defendants’ Counter SOF, Docket Entry No. 168, p. 4 ¶ 10.
     4
         Id. ¶¶ 11-12.      See also Answer, Docket Entry No. 77, p. 4
¶ 18.
     5
      Plaintiff’s Complaint, Docket Entry No. 1, p. 4 ¶ 14. See
also Defendants’ Counter SOF, Docket Entry No. 168, p. 3 ¶ 7.
     6
         Defendants’ Counter SOF, Docket Entry No. 168, p. 5 ¶ 14.

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     On October 15, 2012, EOX entered into an Intercompany Services

Agreement (“ISA”) with fifteen affiliates, including Choice Power

LP (“Choice Power”).      Pursuant to the ISA all of OTC Global’s

individual brokers engaging in futures transactions within the

United States are registered with the CFTC as Affiliated Persons

(“AP”) of EOX.7     The ISA states that

     when AP’s perform brokerage services involving futures
     contracts, they are acting exclusively on behalf of EOX
     in their capacities as [APs] of EOX. The Affiliates and
     EOX agree that when AP’s perform brokerage services
     involving transactions in contracts other than futures,
     they are acting on behalf of the relevant Affiliates.8

     Gizienski was employed by EOX affiliate Choice Power as a

broker, and was registered with the CFTC as an AP of EOX from

February 1, 2013, to January 1, 2019.9

     EOX charged commissions to customers for block trades that it

brokered.10 EOX paid Gizienski 50-55% of the commission it received

for block trades that he brokered.11

     Jason Vaccaro (“Vaccaro”) was an energy trader who owned and

operated his own trading firm, AC Power Financial (“AC Power”).12

     7
         Id. at 3-4 ¶¶ 3-4.
     8
      Id. at 3 ¶ 5 (quoting ISA, Exhibit 2 to Plaintiff’s MSJ,
Docket Entry No. 152-3, ¶ 1).
     9
         Id. ¶¶ 6-8.
     10
      Plaintiff’s SOF, Docket Entry No. 152, p. 3,                  ¶   16;
Defendants’ Counter SOF, Docket Entry No. 168, p. 5 ¶ 16.
     11
      Plaintiff’s SOF, Docket Entry No. 152, p. 3 ¶ 17; Defendants’
Counter SOF, Docket Entry No. 168, p. 6 ¶ 17.
     12
          Plaintiff’s SOF, Docket Entry No. 152, p. 3 ¶ 18 (citing
                                                     (continued...)

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From 2012 through May of 2014, Vaccaro retained EOX to broker block

trades for AC Power, and Gizienski served as his primary broker.13

Vaccaro    and    Gizienski   also    had    a   personal       relationship   that

included travel and entertainment.14

     On April 25, 2013, Vaccaro executed an Additional Account

Request pursuant to which he asked FCStone, LLC (“FCS”), the

Futures Commission Merchant (“FCM”) with which he worked, to

establish an additional sub-account for AC Power, for the purpose

of adding an additional trader, Gizienski.15 On the same day, i.e.,

April     25,    2013,   Vaccaro     also    executed       a    Managed   Account

Authorization providing Gizienski power of attorney to act as his

agent to buy and sell commodity futures contracts, commodity


     12
      (...continued)
Videotaped Deposition of Jason Vaccaro (“Vaccaro Deposition”),
p. 141:7-9, Exhibit 10 to Plaintiff’s MSJ, Docket Entry No. 152-11,
p. 4; Defendants’ Counter SOF, Docket Entry No. 168, p. 6 ¶ 18.
     13
       Defendants’ Counter SOF, Docket Entry No. 168 p. 6 ¶ 19
(citing Vaccaro Deposition, p. 141:10-17, Docket Entry No. 152-11,
p. 4). See also Plaintiff’s SOF, Docket Entry No. 152, p. 3 ¶ 19
(citing Vaccaro Deposition, p. 141:15-21, Docket Entry No. 152-11,
p. 4).
     14
      Plaintiff’s SOF, Docket Entry No. 152, p. 3 ¶ 20 (citing
Excerpts of the Investigative Testimony of Andrew Gizienski
(“Gizienski Investigative Testimony”), p. 33:3-8, Exhibit 5 to
Plaintiff’s MSJ, Docket Entry No. 152-6, p. 10; and Deposition of
Andrew Gizienski (“Gizienski Deposition”), pp. 92:8-94:15, Exhibit
6 to Plaintiff’s MSJ, Docket Entry No. 152-7, pp. 13-15);
Defendants’ Counter SOF, Docket Entry No. 168, pp. 6-7 ¶ 20.
     15
      Plaintiff’s SOF, Docket Entry No. 152, p. 4 ¶ 41 (citing
Vaccaro Deposition, p. 158:1-22, Docket Entry No. 152-11, p. 12).
See also Additional Account Request, Exhibit 21 to Plaintiff’s MSJ,
Docket Entry No. 152-22, p. 2).

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options contracts, and cash commodities through FCS.16 FCS approved

Vaccaro’s request for an additional account on May 1, 2013.17           EOX

paid the expenses associated with establishing and maintaining the

Managed Account.18

     Gizienski started using the Managed Account to make trades for

AC Power in August of 2013, and continued to use it for that

purpose until May of 2014 when Vaccaro directed him to stop.19

     Gizienski exercised discretionary authority over the Managed

Account, which allowed him (1) to execute trades for AC Power

without speaking to Vaccaro about the specific trade, and (2) to

determine the quantity, price, and timing of trades.20



     16
      Plaintiff’s SOF, Docket Entry No. 152, p. 7 ¶ 42 (citing
Vaccaro Deposition, p. 158:23-159:19, Docket Entry No. 152-11,
pp. 12-13). See also Managed Account Authorization, Exhibit 21 to
Plaintiff’s MSJ, Docket Entry No. 152-22, p. 3.
     17
      Additional Account Request, Exhibit 21 to Plaintiff’s MSJ,
Docket Entry No. 152-22, p. 2 (“Internal Approval” signature line).
     18
      Plaintiff’s SOF, Docket Entry No. 152, p. 7 ¶ 43 (citing June
2, 2013, Gizienski Email, Exhibit 22 to Plaintiff’s MSJ, Docket
Entry No. 152-23); Defendants’ Counter SOF, Docket Entry No. 168,
p. 16 ¶ 43.
     19
      Plaintiff’s SOF, Docket Entry No. 152, p. 7 ¶ 44 (citing
Vaccaro Deposition, p. 142:13-16, Docket Entry No. 152-11, p. 6);
Defendants’ Counter SOF, Docket Entry No. 168, pp. 16-17 ¶ 43.
     20
      Plaintiff’s SOF, Docket Entry No. 152, pp. 8-9 ¶¶ 54, 58
(citing Gizienski Investigative Testimony, pp. 39:2-5, and 60:4-9,
Exhibit 5 to Plaintiff’s MSJ, Docket Entry No. 152-6, pp. 11 and
17; and Gizienski Deposition, pp. 102:20-104:2, 181:9-182:9),
Exhibit 6 to Plaintiff’s MSJ, Docket Entry No. 152-7, pp. 20-22,
25-26); Defendants’ Counter SOF, Docket Entry No. 168, pp. 26 and
29 ¶¶ 54, 58.

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     In order to establish the Managed Account that Gizienski used

to trade for AC Power, EOX’s CEO, Javier Loya (“Loya”), waived a

company policy that prohibited brokers from exercising discretion

over customer accounts.21       EOX’s Vice-President, Michael Nemer

(“Nemer”), was responsible for working with FCS to set up the

Managed Account,22 and for daily monitoring of the Managed Account.23

     EOX did not provide Gizienski any training expressly directed

to exercising discretionary authority over the Managed Account.24

     Neither EOX nor Gizienski disclosed to their other customers

that Gizienski was exercising discretionary authority to execute



     21
      Plaintiff’s SOF, Docket Entry No. 152, p. 6 ¶ 39 (citing
Answer, Docket Entry No. 77, p. 2 ¶ 4); Defendants’ Counter SOF,
Docket Entry No. 168, p. 14 ¶ 39.
     22
      Plaintiff’s SOF, Docket Entry No. 152, p. 6 ¶¶ 40-41 (citing
Videoconference Deposition of Michael Nemer (“Nemer Deposition”),
pp. 13:24-14:2, 25:16-27:13, Exhibit 11 to Plaintiff’s MSJ, Docket
Entry No. 152-12, pp. 7-9); Defendants’ Counter SOF, Docket Entry
No. 168, pp. 14-15 ¶¶ 40-41 (citing Supplemental Declaration of
Javier Loya in Support of Defendants’ Opposition to Plaintiff’s MSJ
(“Loya Supplemental Declaration”), Exhibit 1 to Defendants’ Counter
SOF, Docket Entry No. 168-2, p. 6 ¶ 22).
     23
      Plaintiff’s SOF, Docket Entry No. 152, p. 7 ¶ 47 (citing
Nemer Deposition, pp. 31:22-32:3, Exhibit 11 to Plaintiff’s MSJ,
Docket Entry No. 152-12, pp. 12-13; Deposition of Javier Loya
(“Loya Deposition”), p. 136:11-138:24, Exhibit 24 to Plaintiff’s
MSJ, Docket Entry No. 152-25, pp. 22-24); Defendants’ Counter SOF,
Docket Entry No. 168, pp. 14-15 ¶¶ 40 (citing Loya Supplemental
Declaration, Exhibit 1 to Defendants’ Counter SOF, Docket Entry
No. 168-2, p. 6 ¶ 22 (asserting that Nemer was responsible for
monitoring the account daily).
     24
       Plaintiff’s SOF, Docket Entry No. 152, pp. 7 ¶ 45 and 29
¶ 148 (citing Gizienski Deposition, pp. 118:23-119:15, Docket Entry
No. 152-7, pp. 23-24; Nemer Deposition, p. 31:11-14, Docket Entry
No. 152-12, p. 12); Defendants’ Counter SOF, Docket Entry No. 168,
pp. 17 ¶ 45 and 94-95 ¶ 148).

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trades for AC Power in the same markets that he was brokering for

EOX’s other customers.25

     Neither EOX nor Gizienski obtained consent from customers to

represent them as their broker in trades for which Gizienski, in

exercising discretionary authority over the Managed Account, took

the opposite side of their orders.26

     Gizienski’s customers did not know that while acting as their

broker    he   exercised   discretionary   authority   over   the   Managed

Account to execute trades for AC Power in the same markets that he

brokered for his other customers.27



     25
      Plaintiff’s SOF, Docket Entry No. 152, pp. 8 ¶ 49 and 10
¶¶ 63-64 (citing inter alia Gizienski Investigative Testimony,
pp. 59:15-60:13, Exhibit 5 to Plaintiff’s MSJ, Docket Entry
No. 152-6, pp. 16-17); Defendants’ Counter SOF, Docket Entry
No. 168, pp. 19-21 ¶ 49.
     26
      Plaintiff’s SOF, Docket Entry No. 152, pp. 8 ¶ 50 and 10
¶¶ 62 and 65 (citing Defendant EOX Holding LLC’s Responses to
Plaintiff CFTC’s First Set of Requests for Admissions (“EOX’s
Responses to Plaintiff’s RFAs”), Exhibit 27 to Plaintiff’s MSJ,
Docket Entry No. 152-28, p. 10 ¶ 37); Defendants’ Counter SOF,
Docket Entry No. 168, p. 22 ¶ 50.
     27
      Plaintiff’s SOF, Docket Entry No. 152, pp. 8 ¶ 51 and 10 ¶ 64
(citing Deposition of Peter Grimes (“Grimes Deposition”), p. 96:12-
21, Exhibit 7 to Plaintiff’s MSJ, Docket Entry No. 152-8, p. 5;
Videoconference   Deposition   of   Alexander   N.  Elsik   (“Elsik
Deposition”), p. 69:11-18, Exhibit 25 to Plaintiff’s MSJ, Docket
Entry No. 152-26, p. 5; and Gizienski Deposition, pp. 182:13-
183:16, Exhibit 6 to Plaintiff’s MSJ, Docket Entry No. 152-7,
pp. 25-26); Defendants’ Counter SOF, Docket Entry No. 168, pp. 23-
24 ¶ 51 (asserting that “Plaintiff[] cites three depositions for
this statements, which supply no evidence about any customer other
than those three,” but failing to offer evidence of any customer
who knew that Gizienski was using the Managed Account to trade for
AC Power while acting as their broker in the same market).

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     Gizienski understood that when EOX’s customers asked him for

a quote or a market for a block trade order, the customers trusted

him to “find the best price.”28

     Gizienski’s customers expected him to provide them the best

prices known to him for the products he was brokering, but there

was no easy way for his customers to know whether he actually

provided them with the best price.29

     Other EOX brokers working in block trade energy markets

understood that they had a duty to execute trades for customers at

the best price available and known to the broker.30

     EOX created trade confirmation documents for the Managed

Account, some of which identify Gizienski as both broker and




     28
      Plaintiff’s SOF, Docket Entry No. 152, p. 16 ¶ 83 (citing
Gizienski Investigative Testimony, pp. 84:23-85:4, Exhibit 5 to
Plaintiff’s MSJ, Docket Entry No. 152-6, pp. 22-23; Defendants’
Counter SOF, Docket Entry No. 168, p. 52 ¶ 83.
     29
      Plaintiff’s SOF, Docket Entry No. 152, p. 17 ¶¶ 84-85 (citing
Gizienski Investigative Testimony, pp. 85:24-86:12, Exhibit 5 to
Plaintiff’s MSJ, Docket Entry No. 152-6, pp. 23-24; Gizienski
Deposition, p. 32:21-23, Exhibit 6 to Plaintiff’s MSJ, Docket Entry
No. 152-7, p. 8; and Deposition of Michael Derrett (“Derrett
Deposition”), pp. 31:19-33:23, Exhibit 28 to Plaintiff’s MSJ,
Docket Entry No. 152-29, pp. 9-11; Defendants’ Counter SOF, Docket
Entry No. 168, p. 53 ¶¶ 84-85 (admits that Gizienski so testified
but disputes testimony’s accuracy and dispute’s Plaintiff’s
interpretation of “best price”).
     30
      Plaintiff’s SOF, Docket Entry No. 152, p. 17 ¶ 86 (citing
Derrett Deposition, pp. 33:3-23, Exhibit 28 to Plaintiff’s MSJ,
Docket Entry No. 152-29, p. 11; Deposition of John Klosek (“Klosek
Deposition”), pp. 37:15-39:1, 41:4-17, Exhibit 37 to Plaintiff’s
MSJ, Docket Entry No. 152-38, pp. 6-9).

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trader.31    Each   trade    confirmation    document    that   identifies

Gizienski as both broker and trader states:

     Disclaimer: EOX Holdings, LLC acted solely as the broker
     for (Choice Natural Gas LP) for the transaction. The
     Counterparties themselves determined the terms and
     conditions of the transaction.     EOX Holdings LLC is
     advising you of the above, as broker only.32

     Gizienski disclosed to Vaccaro non-public information relating

to the identities, positions, orders, and trading interests of EOX

customers, not for the purpose of executing trades for other EOX

customers but to “giv[e Vaccaro] market color.”33

     EOX’s customers did not all have brokerage services agreements

(“BSAs”); EOX’s practice was to execute a BSA if requested by a

customer.   EOX did not communicate to its brokers which customers

had brokerage services agreements and which did not.34

     31
      Plaintiff’s SOF, Docket Entry No. 152, p. 10 ¶ 66 (citing
Gizienski Block Trade Confirmations, Exhibit No. 29 to Plaintiff’s
MSJ, Docket Entry No. 152-30); Defendants’ Counter SOF, Docket
Entry No. 168, p. 35 ¶ 66 (admitting that “[t]he confirms show that
[these] transaction[s were] on behalf of “AC Power dba EOX Holdings
LLC as agent for” and arguing that “EOX Holdings was acting solely
as broker/agent for AC Power, not as trader”).
     32
      Plaintiff’s SOF, Docket Entry No. 152, p. 11 ¶ 68 (citing
Gizienski Block Trade Confirmations, Exhibit No. 29 to Plaintiff’s
MSJ, Docket Entry No. 152-30); Defendants’ Counter SOF, Docket
Entry No. 168, p. 36 ¶ 68.
     33
      Plaintiff’s SOF, Docket Entry No. 152, p. 24, ¶ 118 (quoting
Gizienski Investigative Testimony, p. 132:19, and citing id. at
132:17-134:2, Exhibit 5 to Plaintiff’s MSJ, Docket Entry No. 152-6,
pp. 26-28; and Gizienski Response to RFA, Exhibit 38 to Plaintiff’s
MSJ, Docket Entry No. 152-39, pp. 8 ¶ 21, 11 ¶ 32, 14 ¶ 46, 16
¶ 56, 18 ¶ 68); Defendants’ Counter SOF, Docket Entry No. 168,
p. 84 ¶ 118.
     34
      Plaintiff’s SOF, Docket Entry No. 152, p. 24 ¶ 120 (citing
Defendant EOX Holdings LLC’s Responses to Plaintiff CFTC’s First
                                                  (continued...)

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        In May of 2014, Vaccaro instructed Gizienski to stop using the

Managed Account to execute trades for AC Power.35



B.      Procedural Background

        Plaintiff initiated this action on September 28, 2018, by

filing Plaintiff’s Complaint in the Southern District of New York

alleging      that    Defendants    violated     the     CEA   and   Regulations

promulgated thereunder when between August of 2013 and May of 2014,

Gizienski, an AP at EOX, disclosed EOX customers’ confidential

block trading orders and information to Vaccaro, and, exercising

discretionary        authority   over    the   Managed    Account,    used   that

information to trade against his other customers without their

prior consent (Counts I and II).           Plaintiff also alleged that EOX

failed to properly maintain certain records (Count III), and failed

to properly supervise Gizienski (Count IV).

        On July 31, 2019, the Southern District of New York entered an

Order pursuant to 28 U.S.C. § 1404(a) granting defendants’ motion

to transfer the action to this court (Docket Entry No. 52).


        34
      (...continued)
Set of Interrogatories (“EOX’s Responses to Interrogatories”),
Exhibit 23 to Plaintiff’s MSJ, Docket Entry No. 152-24, p. 6
No. 11; and Loya Deposition, pp. 198:21-200:10, Exhibit 24 to
Plaintiff’s MSJ, Docket Entry No. 152-25, pp. 30-32); Defendants’
Counter SOF, Docket Entry No. 168, p. 84 ¶ 120.
        35
      Plaintiff’s SOF, Docket Entry No. 152, p. 24 ¶ 125 (citing
Vaccaro Deposition, p. 146:3-10, Exhibit 10 to Plaintiff’s MSJ,
Docket Entry No. 152-11, p. 9; Defendants’ Counter SOF, Docket
Entry No. 168, p. 87 ¶ 125.

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     On September 9, 2019, the court entered a Memorandum Opinion

and Order (Docket Entry No. 74) denying Defendants’ Motion to

Dismiss and for Summary Judgment on Counts I and II of the

Plaintiff’s Complaint.

     On March 21, 2021, the court entered a Memorandum Opinion and

Order (Docket Entry No. 159) granting Defendants’ Motion to Amend

the Revised Docket Control Order and for Leave to File Summary

Judgment Motion on Counts I and II, and for Partial Summary

Judgment on Counts III and IV.



                   II. Defendants’ Motion to Amend

     Defendants’ motion to amend, which was filed on October 8,

2020, seeks leave to add two affirmative defenses to Counts I and

II of the Complaint: (1) failure of due process notice under the

Fifth Amendment as applied; and (2) violation of Defendants’ First

Amendment rights to freedom of commercial speech.36

     Plaintiff argues that defendants’ motion to amend should be

denied because it is untimely and futile.37




     36
      Defendants’ Motion to Amend, Docket Entry No. 121, p. 1. See
also Defendants’ Amended Answer and Affirmative Defenses, Docket
Entry No. 121-1, pp. 20-27; and Defendants’ Memorandum in Support
of Their Motion to Amend Revised Docket Control Order to Grant Them
Leave to File Amended Answer Adding Affirmative Defenses
(“Defendants’ Memorandum in Support of Motion to Amend”), Docket
Entry No. 122, p. 1).
     37
      Plaintiff’s Response in Opposition to Defendants’ Motion for
Leave to File an Amended Answer (“Plaintiff’s Opposition to
Defendants’ Motion to Amend”), Docket Entry No. 129, p. 1.

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        Defendants reply that (1) the CFTC ignores the question of

whether the two defenses are assertable without special pleading;

(2) the CFTC ignores the long COVID 19 suspension of proceedings

and its stonewalling in discovery; (3) futility must be viewed

under the standards of sufficiency without resort to materials

outside the proffered pleading; (4) the CFTC ignores and misstates

facts; (5) the CFTC fails no justify its attempt to punish truthful

commercial      speech;    (6)   the   CFTC’s   factual   arguments    violate

Defendants’ Seventh Amendment Right to a Jury Trial; and (7) the

CFTC fails to assert prejudice.38



A.      Standard of Review

        If a scheduling order has been entered establishing a deadline

for amendments to pleadings, Federal Rule of Civil Procedure 15(a)

provides the standard for requests to amend that are filed before

the scheduling order’s deadline has expired.               If, however, the

deadline for amending the pleadings has expired, the movant must

establish good cause for modifying the scheduling order as required

by Rule 16(b) before the court will apply Rule 15(a)’s more liberal

standard to the motion to amend.                S&W Enterprises, L.L.C. v.

SouthTrust Bank of Alabama, NA, 315 F.3d 533, 536 (5th Cir. 2003).



        38
      Defendants’ Reply on Their Motion to Amend Revised Docket
Control Order to Grant Them Leave to File Amended Answer Adding
Affirmative Defenses (“Defendants’ Reply in Support of Motion to
Amend”), Docket Entry No. 132, pp. 2-11.

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If a movant establishes good cause to extend the scheduling order,

courts analyze the motion to amend under Rule 15(a).             Id.   Because

a scheduling order (i.e., a Docket Control Order) was entered on

September 27, 2019 (Docket Entry No. 76), a Second Amended Docket

Control Order (Docket Entry No. 98), was entered on May 18, 2020,

and a Revised Docket Control Order (Docket Entry No. 102) was

entered on June 16, 2020, and because all of the scheduling orders

entered in this case stated that no amendments were to be filed,

Defendants must establish good cause to modify the scheduling order

pursuant to Rule 16(b) before the court will apply Rule 15(a)’s

standard to their motion to amend.



B.      Defendants Have Established Good Cause Under Rule 16(b)

        Defendants argue that they have the “good cause” required by

Rule 16(b) to amend the Revised Docket Control Order to add two

affirmative defenses, one for as-applied lack of due process

notice, and one for violation of their rights to freedom of

commercial speech, because

        (1) their request to add [these] Defense[s] is timely:
        Defendants have been diligently pursuing discovery about
        it that the CFTC has stonewalled; (2) the requested
        amendment is important: it is a Constitutional Due
        Process defense that, if granted, would likely be
        dispositive of the fraud charges of Counts I and II;
        (3) the CFTC will not be unduly prejudiced: it will have
        ample opportunity to oppose the Defenses without any




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     complicated proceedings or further discovery; and (4) the
     addition of the Defense[s] will not delay this case.39

     To determine whether the moving party has established good

cause, courts consider four factors:       “(1) the explanation for the

failure to timely move for leave to amend; (2) the importance of

the amendment; (3) potential prejudice in allowing the amendment;

and (4) the availability of a continuance to cure such prejudice.”

S&W Enterprises, 315 F.3d at 536.




     1.      Defendants Have No Reasonable Explanation for Delay

     Asserting that they “have been trying without success to

investigate the CFTC’s lack of warning or announcement that it

would claim that disclosure of counterparty information in block

trades constitutes a fraud under Section 6(c)(1), 155.4(b)(1) &

180.1(a),”40 that they filed a motion to compel requiring the

disclosure of that information,41 and that “the CFTC also refused

to disclose this information in response to Defendants’ FOIA




     39
      Defendants’ Memorandum in Support of Motion to Amend, Docket
Entry No. 122, p. 3.      See also id. at 34 (“Given the CFTC’s
stonewalling, Defendants have not unduly delayed. In any event,
there is more than ample time left in discovery and other stages of
this case to deal with these affirmative defenses, and the CFTC
will suffer no undue prejudice of any kind in responding to them.
There has been no failure to cure deficiencies at all. And the
Affirmative Defenses are certainly not futile.”).
     40
          Id. at 33-34.
     41
          Id. at 34.

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[r]equests,”42 Defendants argue that “[i]t is entirely reasonable

that [they] investigate the grounds for their affirmative defense

before asserting it[, a]nd, they have been diligent in doing so.”43

     Asserting that “Defendants unduly delayed raising their two

new affirmative defenses,”44 Plaintiff argues that the affirmative

defenses Defendants seek to add “should have been apparent from the

outset     of   this    case   if   they   had   been   credible   defenses.”45

Plaintiff argues that

     [t]hese constitutional defenses are not the type that
     require discovery in order to assert. Defendants knew
     what notice they received regarding the conduct that was
     prohibited and what rights they have under the First
     Amendment. There is no legitimate excuse for Defendants’
     decision to wait years before seeking leave to assert
     these affirmative defenses.

          Finally, Defendants do not explain what changed
     between the time they moved to enter a docket control
     order barring motions to amend the pleadings (Dkt. 101-
     1), and the filing of this motion.      Presumably, no
     explanation is forthcoming because nothing has changed,
     except that Defendants have finally gotten around to
     considering what defenses they wish to raise.

          Because   there  is   no  legitimate  excuse  for
     Defendants’ lengthy delay in raising these affirmative
     defenses, the motion should be denied.46




     42
          Id.
     43
          Id.
     44
      Plaintiff’s Opposition to Defendants’ Motion to Amend, Docket
Entry No. 129, p. 4.
     45
          Id.
     46
          Id. at 4-5.

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     Defendants reply that “in view of the COVID 19 stays of

proceedings, the CFTC’s discovery stonewalling, the Motion to Amend

is timely.”47

     Plaintiff filed its first and only Complaint (Docket Entry

No. 1) on September 28, 2018.           One year later, on September 27,

2019, after Defendants’ motion to dismiss and first motion for

summary judgment was briefed and denied,48 the court entered a

Docket Control Order, setting deadlines and stating that no motions

to amend the pleadings would be allowed.49           Approximately two weeks

later     on   October   10,   2019,    Defendants    filed   an   Answer    to

Plaintiff’s Complaint.50       The affirmative defenses that Defendants

seek leave to assert are based on facts and arguments that were

available and could have been asserted on October 10, 2019, when

Defendants answered Plaintiff’s Complaint.            Defendants could have

sought leave to amend to assert the two affirmative defenses in the

spring of 2020 when the COVID 19 pandemic prompted them to file a

motion to vacate the original scheduling order and seek several

extensions of time.51      Defendants could also have sought leave to


     47
      Defendants’ Reply in Support of Motion to Amend, Docket Entry
No. 132, p. 1.
     48
      See Memorandum Opinion and Order, Docket Entry No. 74,
entered on September 26, 2019.
     49
          Docket Control Order, Docket Entry No. 76.
     50
          Answer, Docket Entry No. 77.
     51
          See Unopposed Motion to Vacate 76 Scheduling Order, Docket
                                                      (continued...)

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amend to assert the two affirmative defenses on June 15, 2020, when

the parties filed an agreed motion to amend the Docket Control

Order,52 and jointly submitted a Revised Docket Control Order

stating that no amendments to the pleadings would be allowed.53

     Defendants have neither argued nor cited any evidence from

which the court could conclude that they were not aware of the

facts on which their proposed amendments are based before they

answered     Plaintiff’s    Complaint   or     before    the    parties   jointly

submitted the Revised Docket Control Order, which the court entered

on June 16, 2020.          Because Defendants have failed to offer a

reasonable explanation for delay in seeking leave to amend, this

factor weighs against granting their motion to amend. Southwestern

Bell Telephone Co. v. City of El Paso, 346 F.3d 541, 547 (5th Cir.

2003) (denying leave to amend because “[movant] was aware of the

contract that forms the basis of its proposed amendment months in

advance     of   the   deadline   and   does    not     offer   a   satisfactory

explanation for its delay in seeking leave to amend”).




     51
      (...continued)
Entry No. 90, and Order granting Unopposed Motion to Vacate, Docket
Entry No. 91; Motion for Extension of Time — Suspension of Docket
Control Order, Docket Entry No. 94; Order granting Motion for
Extension of Time, Docket Entry No. 95; and Motion for Extension of
Time, Docket Entry No. 97. See also Second Amended Docket Control
Order, Docket Entry No. 98, entered on May 18, 2020.
     52
          Docket Entry No. 101.
     53
          Docket Entry No. 101-1.

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     2.    The Proposed Amendments Are Important, Will Not Prejudice
           Plaintiff, and Will Not Delay the Case

     Defendants argue that the proposed amendments are important

because they raise Constitutional issues that could be dispositive

of the claims asserted in Counts I and II of Plaintiff’s Complaint,

that the proposed amendments have no potential for prejudice

because Plaintiff will be able to oppose the defenses without

complicated proceedings or further discovery, and that granting

their request to amend will not delay resolution of the case.54

Defendants address the two proposed affirmative defenses in the

brief that they filed opposing Plaintiff’s MSJ.55          Plaintiff does

not dispute Defendants’ contentions that their proposed amendments

are important, that Plaintiff will be able to respond to the

defenses without additional discovery, and that granting the motion

will not delay resolution of the case.        Instead, Plaintiff argues

that Defendants’ Motion to Amend should be denied because it would

be futile,56 which is one of the issues considered under Rule 15(a)

only once Rule 16(b)’s good cause standard has been satisfied.

     54
      Defendants’ Memorandum in Support of Motion to Amend, Docket
Entry No. 122, p. 3. See also id. at 26-31 (arguing that neither
§ 6(c)(1) nor Regulations 155.4(b)(1) and 180.1(a) provided the
Constitutionally required notice of application to block trades);
and 31-32 arguing that this prosecution violates Defendants’ rights
to freedom of commercial speech)). Defendants’ Reply in Support of
Motion to Amend, Docket Entry No. 132, p. 1 (asserting that the
proposed defenses “rely almost entirely on uncontestable facts and
legal principles”).
     55
      Defendants’ Opposition to Plaintiff’s MSJ, Docket Entry
No. 167-1, p. 32 (“Defendants stand on their First and Fifth
Amendment Constitutional defenses.”).
     56
      Plaintiff’s Opposition to Defendants’ Motion to Amend, Docket
Entry No. 129, pp. 5-10.

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     Because the affirmative defenses that Defendants seek leave to

add raise Constitutional issues that could be dispositive of the

claims asserted in Counts I and II, and because a comprehensive

opinion dealing with all of the issues could benefit the public

since this action appears to raise issues of first impression, the

court   concludes   that   the    proposed     amendments        are   important.

Because Plaintiff does not dispute Defendants’ assertion that

addition of the two proposed affirmative defenses will not require

additional discovery, because both parties have briefed the merits

of the two defenses in the papers that they have filed in support

of and opposition to Defendants’ Motion to Amend, and because

Defendants   have   asserted      both    of   the     proposed    defenses    in

opposition to Plaintiff’s MSJ, the court concludes that allowing

the requested amendments will neither prejudice Plaintiff nor

require a continuance that would delay resolution of the case.

Thus, the three Rule 16(b) factors other than delay all weigh in

favor of granting Defendants’ motion.



     3.    Conclusions

     Although    Defendants      have    failed   to     offer    a    reasonable

explanation for delay in seeking leave to amend, and this factor

weighs against granting their motion, because the three remaining

factors all weigh in favor of granting their motion, the court

concludes that Defendants have established good cause to modify the

scheduling order as required by Rule 16(b) to allow the court to

apply Rule 15(a)’s more liberal standard in considering Defendants’

Motion to Amend.

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C.      Plaintiff Has Failed to Establish that the Proposed Amendments
        Would Be Futile

        Federal Rule of Civil Procedure 15(a)(2) states that “[t]he

court        should    freely   give    leave     [to   amend]    when    justice   so

requires.”       “A decision to grant leave is within the discretion of

the court, although if the court ‘lacks a “substantial reason” to

deny     leave,       its   discretion    “is     not   broad    enough   to    permit

denial.”’”        State of Louisiana v. Litton Mortgage Co., 50 F.3d

1298, 1302-03 (5th Cir. 1995) (per curiam) (citation omitted).

Rule 15(a) provides “a strong presumption in favor of granting

leave to amend.”            Financial Acquisition Partners LP v. Blackwell,

440 F.3d 278, 291 (5th Cir. 2006).                “Denial of leave to amend may

be warranted for undue delay, bad faith or dilatory motive on the

part of the movant, repeated failure to cure deficiencies, undue

prejudice       to    the    opposing    party,    or   futility    of    a   proposed

amendment.” United States ex rel. Steury v. Cardinal Health, Inc.,

625 F.3d 262, 270 (5th Cir. 2010) (citing Foman v. Davis, 83 S.Ct.

227, 230 (1962)).

        Citing Rule 15(a), Defendants argue that

        they should have the benefit of the presumption of this
        Rule in favor of freely granting amendments when justice
        so requires. Given that this is an important case of
        first impression affecting not just Defendants but a
        critical sector of the energy investment community, an
        extremely important component of the nation’s financial
        infrastructure and economy, justice does so require.57


        57
      Defendants’ Memorandum in Support of Motion to Amend, Docket
Entry No. 122, p. 3.

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     Citing Maynard v. Cartwright, 108 S. Ct. 1853 (1988), and

statements made by Gizienski and Loya, Plaintiff argues that

Defendants’ affirmative defenses are futile because they knew that

their actions were prohibited.58 In Maynard the Supreme Court said:

     Objections to vagueness under the Due Process Clause rest
     on the lack of notice, and hence may be overcome in any
     specific case where reasonable persons would know that
     their conduct is at risk.       Vagueness challenges to
     statutes not threatening First Amendment interests are
     examined in light of the facts of the case at hand; the
     statute is adjudged on an as-applied basis.

Id. at 1857-58 (citing inter alia United States v. National Dairy

Products Corp., 83 S. Ct. 594, 598 (1963) (“Void for vagueness

simply means that . . . responsibility should not attach where one

could not reasonably understand that his contemplated conduct is

proscribed.” (citation omitted)).

     In determining whether to grant leave to amend, futility means

that “the amended complaint would fail to state a claim upon which

relief could be granted.” Stripling v. Jordan Production Co., LLC,

234 F.3d 863, 873 (5th Cir. 2000).          “An affirmative defense is

subject to the same pleading requirements as is the complaint.”

Woodfield v. Bowman, 193 F.3d 354, 362 (5th Cir. 1999).            Like the

complaint, an affirmative defense need only contain “a short and



     58
      Plaintiff’s Opposition to Defendants’ Motion to Amend, Docket
Entry No. 129, pp. 7-8 (citing IFUS Interview of Andrew Gizienski,
p. 24, Exhibit 40 to Plaintiff’s SOF, Docket Entry No. 152-41,
p. 25; August 14, 2013, Email from Javier Loya to All Choice Envir
Employees, Exhibit 3, Docket Entry No. 129-1, p. 27, and Exhibit 70
to Plaintiff’s SOF, Docket Entry No. 152-71).

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plain statement of the claim showing that the pleader is entitled

to relief.”        Fed. R. Civ. P. 8(a)(2).             In Woodfield the Fifth

Circuit held that a defendant “must plead an affirmative defense

with enough specificity or factual particularity to give the

plaintiff ‘fair notice’ of the defense that is being advanced.”

193   F.3d   at    362.       Woodfield’s       fair-notice    pleading   standard

requires Defendants to “sufficiently articulate[] the defense so

that the plaintiff [is] not a victim of unfair surprise.”                   Id.

      Since Woodfield, the Supreme Court has clarified that “a

complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell

Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974 (2007)).                      The

Fifth Circuit has not yet addressed whether the plausible pleading

standard articulated in Twombly and Iqbal applies to affirmative

defenses.    While district courts in the Fifth Circuit are split on

this issue, see Bush v. Wells Fargo Bank, N.A., 911 F. Supp.2d 445,

484 (S.D. Tex. 2012) (collecting cases), this court has continued

to apply the fair-notice standard to motions to amend affirmative

defenses.         See    Sprint   Solutions,       Inc.   v.   Precise    Wireless

International, Inc., Civil Action No. H-15-0032, 2015 WL 2359519,

at *2 (S.D. Tex. May 15, 2015).

      Plaintiff’s argument that the proposed amendments would be

futile   because        the   evidence   does     not   support   their   proposed


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defenses is      not    based    on   the    sufficiency     of   the   Defendants’

pleadings, but, instead, on the sufficiency of evidence outside of

the pleadings.         Because Rule 12(b)(6) precludes consideration of

evidence outside the pleadings, Plaintiff has failed to show that

Defendants’ proposed defenses are futile.                 See Lachney v. O’Reilly

Automotive Stores, Inc., No. 1:16-CV-00478, 2017 WL 5178773, at * 5

(W.D. La. November 6, 2017) (“[A] court must determine whether a

proposed amendment is ‘legally insufficient on its face’ — not

whether a defendant has, at the pleading state, already carried the

ultimate burden of establishing an affirmative defense.”) (citing

Edison Global Circuits, LLC v. Ingenium Technologies, Corp., No. H-

11-1207, 2012 WL 1884083, at *2 (S.D. Tex. May 22, 2012)).                 Because

Plaintiff    has   failed       to    show   that   the    affirmative     defenses

Defendants seek leave to add are futile under this standard, and

because review of Defendants’ proposed Amended Answer persuades the

court     that   the     defenses      are    pleaded      with   enough   factual

particularity to satisfy both the fair-notice and the plausibility

pleading standards,59 Defendants’ Motion to Amend will be granted.




     59
      See Defendants’ Amended Answer and Affirmative Defenses,
Docket Entry No. 121-1, pp. 20-26 (Second Affirmative Defense to
Counts I and II Lack of Notice of Illegality in Violation of the
Due Process Clause of the Fifth Amendment to the United States
Constitution), and pp. 26-27 (Third Affirmative Defense to Counts
I and II Violation of Defendants’ Right of Freedom of Speech in
Violation   of  the  First   Amendment  to   the  United   States
Constitution).

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                        III. Defendants’ Motion to Strike

     Defendants         move    to   strike   two    declarations      submitted     by

Plaintiff in support of its motion for summary judgment: (1) the

Declaration of Duan Forester (“Forester Declaration”) (labeled by

Plaintiff as the “PSEG Declaration”), Exhibit 26 to Plaintiff’s

MSJ;60     and    (2)     the     Declaration       of    Heather    Dasso       (“Dasso

Declaration”), Exhibit 31 to Plaintiff’s MSJ.61 Defendants urge the

court     to     strike    both      declarations        because    they   are    “sham

affidavits” not based on personal knowledge.62                      Defendants also

argue that the Dasso Declaration is subject to being stricken

because “it is an expert report that was not timely disclosed.”63

     Plaintiff argues that Defendants’ Motion to Strike should be

denied because both the PSEG and Dasso declarations are admissible

evidence, and neither is a “sham affidavit.”64




     60
          Exhibit 26 to Plaintiff’s MSJ, Docket Entry No. 152-27.
     61
          Exhibit 31 to Plaintiff’s MSJ, Docket Entry No. 152-32.
     62
      Defendants’ Motion to Strike, Docket Entry No. 171, p. 1.
See also Memorandum in Support of Defendants’ Motion to Strike
Improper Declarations Submitted by Plaintiff in Support of Its
Motion for Summary Judgment (“Defendants’ Memorandum in Support of
Motion to Strike”), Docket Entry No. 172, pp. 4 and 15.
     63
      Defendants’ Motion to Strike, Docket Entry No. 171, p. 1.
See also Defendants’ Memorandum in Support of Motion to Strike,
Docket Entry No. 172, pp. 4-5.
     64
      Plaintiff’s Response in Opposition to Defendants’ Motion to
Strike Declarations, Docket Entry No. 175, p. 5.

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A.      Applicable Law

        “[A] declaration used to support or oppose a motion [for

summary judgment] must be made on personal knowledge, set out facts

that would be admissible in evidence, and show that the . . .

declarant is competent to testify on the matters stated.”              Fed. R.

Civ. P. 56(c)(4).       See Obregon v. United States, 791 F. App’x 458,

461     (5th   Cir.   2019)(per   curiam)(“Our    precedent    dictates   that

‘statements in affidavits . . . be based on personal knowledge and

not based on information and belief.’”) (quoting Bolen v. Dengel,

340 F.3d 300, 313 (5th Cir. 2003), cert. denied, 124 S. Ct. 1714

(2004) (emphasis added)).         “A party may object that the material

cited to support or dispute a fact cannot be presented in a form

that would be admissible in evidence.”           Fed. R. Civ. P. 56(c)(2).

The sham affidavit doctrine prohibits a party from raising a fact

issue in the face of summary judgment by submitting an affidavit

that contradicts prior sworn testimony without explanation.                 See

S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 495 (5th Cir.

1996).     See also Cleveland v. Policy Management Systems Corp., 119

S. Ct. 1597, 1603 (1999) (“[Lower federal courts] have held with

virtual unanimity that a party cannot create a genuine issue of

fact sufficient to survive summary judgment simply by contradicting

his or her own previous sworn testimony (by, say, filing a later

affidavit      that   flatly   contradicts    that   party’s   earlier    sworn

deposition) without explaining the contradiction or attempting to

resolve the disparity”).

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B.      Application of the Law to the Forester Declaration

        Defendants argue that the Forester or PSEG Declaration should

be stricken because it

        is a “sham affidavit” not based on personal knowledge
        that contradicts his prior Certification and his
        deposition that no one at PSEG has knowledge of the
        commercial relationship between PSEG and its trader, on
        the one hand, and Defendants EOX and Andrew Gizienski, on
        the other.65

Asserting that PSEG, which stands for PSEG Energy Resources & Trade

LLC, is one of the EOX customers (Customer B) involved in this

case, and that Edward Mazzacano was the PSEG employee who traded

for     PSEG     in   2013-2014   when   the    events   at   issue   occurred,66

Defendants argue that

        [l]ate last year, [they] subpoenaed PSEG for documents
        and a deposition. . .

              Instead of a deposition, PSEG provided a November
        18, 2020[,] Certification under penalty of perjury from
        Daun Forester, a PSEG employee. . . [which] certified in
        part:

                In regard to the Deposition Subpoena, the
                Company is not aware of any current employee
                who has personal knowledge about: . . . any
                commercial relationship in 2012-2014 between a
                Company   employee   and    Andrew   Gizienski
                referenced in Topic 3. . .67


        65
      Defendants’ Motion to Strike, Docket Entry No. 171, p. 1.
See also Defendants’ Memorandum in Support of Motion to Strike,
Docket Entry No. 172, p. 4.
        66
      Defendants’ Memorandum in Support of Motion to Strike, Docket
Entry No. 172, p. 5 & n. 2 (citing Forester Certification, Exhibit
19 to Defendants’ Counter SOF, Docket Entry No. 168-3, p. 23 ¶ 2).
        67
             Id. at 5 (citing D. Forester Certification, Exhibit 19 to
                                                         (continued...)

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Defendants argue that

     [o]n the morning of January 6, 2021, [they] deposed
     Mr. Mazzacano, the former PSEG trader who had traded with
     Defendants in 2013-2014. He testified that he was always
     happy with Andrew Gizienski’s services, that the prices
     he got were in the range that Mazzacano wanted to be
     executed at, and that, as far as he knew, nothing Andrew
     Gizienski or EOX did caused PSEG any damage. . .

          That afternoon, four hours after the Mazzacano
     deposition ended, Plaintiff produced the December 22,
     2020[,] Declaration from Mr. Forester that is the subject
     of this Motion. Plaintiff had been withholding it for
     two weeks. . .

          That new Forester Declaration asserted that PSEG had
     received inferior prices in a number of transactions that
     Mazzacano had ordered.    It did not mention Forester’s
     prior Certification or explain the obvious inconsistency
     of how he came to this knowledge in the face of his
     previous Certification that PSEG “is not aware of any
     current employee who has personal knowledge about: . . .
     any commercial relationship in 2012-2014 between a
     Company employee and Andrew Gizienski.”

          Defendants then subpoenaed Mr. Forester for his
     deposition.    Under oath, he reaffirmed as true his
     November 18, 2020[,] Certification that PSEG “is not
     aware of any current employee who has personal knowledge
     about: . . . any commercial relationship in 2012-2014
     between a Company employee and Andrew Gizienski.” . .

          Unfazed, Plaintiff submitted the 12/22/20 Forester
     Declaration (calling it the “PSEG Declaration”) as an
     exhibit to its Summary Judgment Motion in support of
     Statements of Fact 49, 51, 63, 69, 85 & 94.68

     Asserting    that   “the   PSEG   Declaration   is   based   upon   the

declarant’s stated personal knowledge regarding PSEG’s ordinary


     67
      (...continued)
Defendants’ MSJ, Docket Entry No. 168-3, p. 23).
     68
      Id. at 5-6 (citing Mazzacano Deposition, p. 72, Exhibit 10
to Defendants’ MSJ, Docket Entry No. 160-2, pp. 95-113).

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business practices,”69 Plaintiff argues that “it is admissible

evidence and should not be stricken.”70              Plaintiff also argues that

the   sham       affidavit   doctrine    does   not    apply   to    the    Forester

Declaration        because   (1)   it   has   been    submitted     in    support   of

Plaintiff’s MSJ and not in opposition to Defendants’ MSJ, (2) it

was submitted on January 6, 2021, before — not after — Forester was

deposed on January 28, 2021, and (3) it does not contradict any

prior testimony.71 Asserting that the PSEG Declaration was provided

to Defendants as soon as it was ready for production, Plaintiff

argues      that    the   timing   of   Defendants’      receipt     of    the   PSEG

Declaration neither impacts its admissibility, nor prejudices the

Defendants.72

      Defendants reply that the Forester Declaration should be

stricken because the assertion that it is based on Forester’s

personal knowledge contradicts without explanation both Forester’s

November 18, 2020, Certification that “the Company is not aware of

any current employee who has personal knowledge about: . . . any

commercial relationship in 2012-2014 between a Company employee and

Andrew Gizienski referenced in Topic 3,”73 and and his January 28,

      69
      Plaintiff’s Response in Opposition to Defendants’ Motion to
Strike Declarations, Docket Entry No. 175, p. 5. See also id. at
7-10.
      70
           Id.
      71
           Id. at 6-7 & n. 1.
      72
           Id. at 10.
      73
           Defendants’ Reply in Support of Their Motion to Strike
                                                    (continued...)

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2021, deposition testimony, which affirmed his Certification.74

Arguing that Plaintiff’s production of the Forester Declaration was

both untimely and prejudicial, Defendants contend that

     Plaintiff’s Rule 26(a) Initial Disclosures . . .
     identified Mr. Mazzacano as the only PSEG witness; no one
     else, certainly not Mr. Forester, was identified.
     Plaintiff’s answer to Defendants’ Interrogatory regarding
     any trading losses and all relevant documents contained
     the same omission. . . Under Rules 26(a) and (e),
     Plaintiff was required to produce the Declaration long
     before it did and certainly before the Mazzacano
     deposition. And it is most telling that Plaintiff fails
     to explain to this Court why it delayed in producing the
     Declaration.

          Defendants were most assuredly prejudiced by
     Plaintiff’s withholding of the sham Forester/“PSEG
     Declaration” for two weeks — from December 22, 2020,
     until January 6, 2021[,] at 4:18 p.m. — after Defendants
     had just concluded their deposition of PSEG trader Edward
     Mazzacano. Simply stated, with only three weeks left in
     discovery,   it   prevented   Defendants    from   asking
     Mr. Mazzacano, the only PSEG employee involved in the
     underlying events, about the various subjects of that
     sham Declaration. Under Rule 30(a)(2)(A)(ii), he could
     not be recalled as a witness without cumbersome two-
     district proceedings — before this Court and then the
     District Court of New Jersey where he lives — to compel
     a second appearance, likely over his strong objection.75


     73
      (...continued)
Improper Declarations Submitted by Plaintiff in Support of Its
Motion for Summary Judgment (“Defendants’ Reply in Support of Their
Motion to Strike”), Docket Entry No. 177, p. 5.
     74
      Id. at 6-7 (citing Deposition of Duan Henry Forester
(“Forester Deposition”), p. 80:15-17, Exhibit A to Plaintiff’s
Response   in  Opposition  to   Defendants’  Motion  to  Strike
Declarations, Docket Entry No. 175-1, p. 9 (“So, I don’t know
anything -- didn’t know anything in general. I certainly didn’t
know anything specific.”)
     75
          Id. at 9 (citing Federal Rule of Civil Procedure 26(a)
                                                   (continued...)

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        In his November 18, 2020, Certification, Forester states that

he    is      “an   authorized    representative   of    PSEG,   ER&T,   LLC   (the

“Company”),”76 he is “VP Trading and Origination for PSEG Power LLC

. . . responsible for the long-term hedging of . . . power

generation          assets   in   three   northeastern   regional   transmission

organizations,”77 that he has held his current position for 11

months but has been employed by PSEG Power LLC since December of

2007,78 and that PSEG, which was a customer of EOX in 2012-2014, is

a subsidiary of his employer.79              Forester then describes a number

of PSEG’s businesses practices, e.g., “[PSEG] does not authorize

its brokers to disclose its identity to other traders or market

participants not involved in the negotiation of a specific block

trade,”80 “[PSEG] does not authorize its brokers to disclose its

trading activity to other traders or market participants involved

in the negotiation of a specific block trade,”81 and “[PSEG] expects


        75
      (...continued)
Initial Disclosures, Exhibit O to Defendants’ Reply in Support of
Their Motion to Strike, Docket Entry No. 177-2, pp. 3-17).
        76
      Forester Certification, Exhibit 19 to Defendants’ Counter
SOF, Docket Entry No. 168-3, p. 23.
        77
      Forester Declaration, Exhibit 26 to Plaintiff’s MSJ, Docket
Entry No. 152-27, p. 2 § 1.
        78
             Id. ¶ 2.
        79
             Id. ¶ 3.
        80
             Id. at 3 ¶ 5.
        81
             Id. ¶ 6.

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that its brokers fill its trades at the best price available to the

broker in the market at the time of the trade.”82             Plaintiff argues

that the Forester Declaration is admissible because it describes

PSEG’s ordinary business practices.

       Although qualified by the phrase, “[b]ased on the facts

currently available,” Forester makes a number of statements that

are specifically related to PSEG’s relationship with Gizienski and

EOX,    e.g.,     “[PSEG]    was   not   aware   that   Andrew   Gizienski   was

exercising discretionary trading authority on behalf of another EOX

customer from August 2013 - May 2014,”83 and “[PSEG] was not aware

that    Andrew      Gizienski      was   exercising     discretionary   trading

authority by taking the opposite side of [PSEG] trades.”84 Forester

also describes three trades that Gizienski brokered for PSEG: (1) a

trade on January 15, 2014, in which PSEG bought five contracts and

would have preferred to pay less than it paid; (2) a trade on March

4, 2014, in which PSEG sold five contracts and would have preferred

to receive at a higher price than it received; and (3) a trade on

May 14, 2014, in which PSEG bought five contracts and would have

preferred to pay less than it paid.85 Plaintiff’s argument that the

Forester Declaration is admissible because it merely describes


       82
            Id. at 4 ¶ 22.
       83
            Id. ¶ 20.
       84
            Id. ¶ 21.
       85
            Id. at 5-6 ¶¶ 30-38.

                                         -32-
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PSEG’s general business practices is thus belied by the many

statements qualified by the phrase “[b]ased on the currently

available facts,” and by the statements that specifically reference

Gizienski and three trades that he brokered for PSEG on January 15,

2014, March 4, 2014, and May 14, 2014.

      Because Fifth Circuit “precedent dictates that ‘statements in

affidavits . . . be based on personal knowledge and not based on

information and belief,’” Obregon, 791 F. App’x at 461 (quoting

Bolen, 340 F.3d at 313), the court will only consider those parts

of the Forester Declaration that reflect his personal knowledge,

e.g., affirmative statements about PSEG’s business practices.                The

court will not consider those parts of the Forester Declaration

that do not reflect his personal knowledge.               Statements that do

not   reflect      Forester’s    personal     knowledge   include   statements

prefaced by the phrase, “[b]ased on the facts currently available,”

which      the   court   reads   as   analogous   to   statements   “based   on

information and belief,” and statements that specifically reference

Gizienski and the three trades that he brokered for PSEG on January

15, 2014, March 4, 2014, and May 14, 2014.

      Although Forester asserts that the contents of the Declaration

are “based on my personal knowledge,”86 and courts generally accept

assertions of personal knowledge at face value, the court need not

do so when — as here — the accompanying declaration lacks indicia


      86
           Id. at 2.

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that the declarant could reasonably be expected to have personal

knowledge of the facts stated, that those facts would be admissible

in evidence, or that the declarant is competent to testify to those

facts.    The   Forester   Declaration    does   not   include   any   facts

describing the source of his asserted personal knowledge of any of

the statements that specifically reference Gizienski and the three

trades that Gizienski brokered for PSEG on January 15, 2014, March

4, 2014, and May 14, 2014.      Moreover, the record before the court

contains uncontradicted evidence to the contrary.         On November 18,

2020, Forester certified that his company was “not aware of any

current employee who has personal knowledge about: . . . any

commercial relationship in 2012-2014 between a Company employee and

Andrew Gizienski.”    And on January 28, 2021, Forester testified at

his deposition that he does not know anything about the commercial

relationship between his company and Gizienski.         Also missing from

either the Forester Declaration or the record before the court is

any evidence that PSEG maintains records of trades brokered by

Gizienski, that Forester is either a custodian of such records or

has knowledge of them by virtue of his position, or that Forester

is otherwise competent to testify to the facts stated in the

declaration that specifically reference Gizienski and any of the

trades that he brokered for PSEG on January 15, 2014, March 4,

2014, and May 14, 2014.     Because the Forester Declaration does not

contain facts from which the court could reasonably conclude that


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Forester has personal knowledge of the facts stated in reference to

Gizienski and the three trades that Gizienski brokered for PSEG on

January 15, 2014, March 4, 2014, and May 14, 2014, that those facts

would be admissible in evidence, or that Forester is competent to

testify to those facts, the court is not persuaded that the

statements in Forester’s Declaration about the three trades that

Gizienski brokered for PSEG on January 15, 2014, March 4, 2014, and

May 14, 2014, satisfy Rule 56(e)’s requirements for declarations

submitted to support or oppose a motion for summary judgment.

Accordingly, Defendants’ Motion to Strike the Forester Declaration

will be granted as to ¶¶ 8-10, 17-18, 20-21, 23, 25, 27-38, and

denied as to the remaining paragraphs of the declaration.

     Moreover, since Forester signed the declaration on December

22, 2020, but Plaintiff did not provide it to Defendants until

January 6, 2021, and then, only hours after completion of the

Mazzacano deposition, the court will not consider any statements in

the Forester Declaration that contradict Mazzacano’s testimony.

Plaintiff’s contention that Defendants were not prejudiced by

Plaintiff’s failure to provide the Forester Declaration to them

until hours after completion of Mazzacano’s deposition is not

persuasive and, frankly, strains credulity.




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C.      Application of the Law to the Dasso Declaration

        Defendants argue that the Dasso Declaration should be stricken

because it is

        a “sham affidavit” . . . by Plaintiff’s investigator,
        made without adequate personal knowledge based on prior
        Supplemental Discovery Responses that were prepared by
        one of Plaintiff’s lawyers, not Ms. Dasso. It does not
        support the Statements of Fact that cite it and shows
        that the Declarant does not have the personal knowledge
        to support its statements.87

Defendants also argue that the Dasso Declaration should be stricken

because “it is an expert report that was not timely disclosed.”88

In support of their motion to strike, Defendants cite Dasso’s

deposition testimony that she verified Supplementary Discovery

Responses dealing with damages that were prepared by Plaintiff’s

attorney, Douglas Snodgrass,89 that she has a degree in accounting,

and that a duty of her job is to provide expert testimony.90


        87
      Defendants’ Motion to Strike, Docket Entry No. 171, p. 1.
See also Defendants’ Memorandum in Support of Motion to Strike,
Docket Entry No. 172, pp. 4 and 16.
        88
      Defendants’ Motion to Strike, Docket Entry No. 171, p. 1.
See also Defendants’ Memorandum in Support of Motion to Strike,
Docket Entry No. 172, p. 5.
        89
      Defendants’ Memorandum in Support of Motion to Strike, Docket
Entry No. 172, pp. 9-12 (quoting Deposition of Heather Dasso
(“Dasso Deposition”), pp. 138-40 and 146-47, but failing to include
these pages in the Excerpts of 12/11/20 Deposition of Heather
Dasso, Exhibit L to Defendants’ Memorandum in Support of Motion to
Strike, Docket Entry No. 172-4). But see Dasso Deposition, p. 39,
Exhibit C to Plaintiff’s Response in Opposition to Defendants’
Motion to Strike Declarations, Docket Entry No. 175-1, p. 23.
        90
             Defendants’ Memorandum in Support of Motion to Strike, Docket
                                                            (continued...)

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Defendants also cite the Revised Docket Control Order (Docket Entry

No. 102) that set October 29, 2020, as the date for submitting

expert reports by the party with the burden of proof.91

     Asserting that “the information in the [Dasso D]eclaration is

clearly within Dasso’s personal knowledge and the declaration

plainly does not include any opinion, expert or lay,”92 Plaintiff

argues that “[t]he Dasso Declaration is [p]roper and [s]hould [n]ot

[b]e [s]tricken.”93      Plaintiff argues that

     [t]he first four paragraphs of the declaration introduce
     Ms. Dasso and explain the work she has performed in the
     investigation and litigation involving Defendants. Dasso
     Decl. (ECF 152-32) at ¶ 1-4. Paragraph 5 explains how
     trade data exhibits (Ex. 30, 32, and 33) to the CFTC’s
     motion for summary judgment were created. Id. at ¶ 5.
     Paragraph 6 explains Dasso’s personal knowledge about the
     meaning of the column headings in those trade data
     exhibits, and paragraphs 7-27 explain the meanings of
     each column heading.      Id. ¶¶ 6-27.     None of this
     constitutes an opinion, much less an expert opinion.94

Plaintiff argues that

     Defendants’ specific criticisms of the Dasso declaration
     are factually and legally frivolous. Defendants claim
     that the declaration does not support the facts
     describing trades by the Gizienski [for the Managed]


     90
      (...continued)
Entry No. 172, pp. 8-9 (citing Dasso Deposition, pp. 31:3-23,
70:10-19, Docket Entry No. 172-4, pp. 57 and 63).
     91
          Id. at 8-15.
     92
      Plaintiff’s Response in Opposition to Defendants’ Motion to
Strike Declarations, Docket Entry No. 175, pp. 10-11.
     93
          Id. at 10.
     94
          Id. at 11.

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     Account for which it is cited. (ECF 172 at 11). But the
     trade data exhibits support those facts, and the Dasso
     declaration simply explains the provenance and headings
     in the trade data exhibits. Next, Dasso explains where
     the trade data comes from — it was produced to the CFTC
     by IFUS, the exchange on which Gizienski traded (which
     keeps records of trades executed on the exchange). That
     is information within her personal knowledge. And Dasso
     explains that her knowledge of the trade data headings
     comes from both documents produced by IFUS and her
     experience reviewing similar data.        This is also
     information within her personal knowledge. And finally,
     the fact that Dasso may provide expert opinions in other
     cases and circumstances does not render her every
     utterance an expert opinion.95

Plaintiff also argues that “the Dasso declaration is not even

strictly necessary to interpret the trade data exhibits because the

column headings are self-explanatory.”96

     Citing Federal Rule of Evidence 702, Defendants reply that

“Ms. Dasso is most assuredly an expert. Her Declaration is clearly

meant as expert testimony. . .”97           Asserting that “[t]he CFTC

admits that the Dasso Declaration is expert evidence by admitting

that it ‘explains the provenance and headings in the trade data

exhibits,’”98 and “[t]hat is sufficient grounds to strike the

report.”99



     95
          Id. at 12.
     96
          Id. at 13.
     97
      Defendants’ Reply in Support of Their Motion to Strike,
Docket Entry No. 177, p. 10.
     98
          Id. at 10-11.
     99
          Id. at 12.

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     Dasso states in her declaration that she is a Senior Futures

Trading Investigator in the Division of Enforcement for the CFTC

who has      participated   in   the   CFTC’s    investigation   of   EOX   and

Gizienski since April of 2017.100               Dasso states that she has

reviewed data produced by IFUS, including trading activity by

Gizienski and AC Power, as well as block trades submitted to IFUS

by brokers assigned to EOX’s North East Power Desk.101           Dasso states

that Plaintiff’s MSJ cites to three exhibits made up of trade data

that the CFTC received from IFUS,102 and that she is familiar with

the meaning of the column headings used in these three exhibits

from “various information received from IFUS during the course of

the investigation,” and from her “experience in reviewing trade

data as part of [her] responsibilities at the CFTC.”103                     The

remainder of the declaration sets forth Dasso’s opinion as to the

meaning of the column headings on the three exhibits.104

     Rule 26(a) requires a party planning to use an expert witness

who does not need to provide a written report to disclose the

identity of the expert, the subject matter which the expert is



     100
       Dasso Declaration, Exhibit 31 to Plaintiff’s MSJ, Docket
Entry No. 152-32, p. 2 ¶¶ 2-3.
     101
           Id. at 3 ¶ 4.
     102
           Id. ¶ 5.
     103
           Id. ¶ 6.
     104
           Id. at 3-5 ¶¶ 8-27.

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expected to present, and a summary of the facts and opinions to

which   the    expert    is    expected    to   testify.     Fed.   R.    Civ.   P.

26(a)(2)(C). Failure to properly disclose expert evidence requires

the exclusion of the evidence, unless the non-disclosure was

substantially justified or harmless.              Fed. R. Civ. P. 37(c)(1).

See Texas A&M Research Foundation v. Magna Transportation, Inc.,

338 F.3d 394, 402-03 (5th Cir. 2003) (noting four factors in

determining whether a violation of Rule 26 was harmless: (1) the

importance of the evidence; (2) the prejudice to the opposing

party; (3) the possibility of curing such prejudice by granting a

continuance; and (4) the explanation for the party’s failure to

disclose).

     Federal Rule of Evidence 701 states that

     [i]f a witness is not testifying as an expert, testimony
     in the form of an opinion is limited to one that is:

     (a)      rationally based on the witness’s perception;

     (b)      helpful to clearly understanding the witness’s
              testimony or to determining a fact in issue; and

     (c)      not based on scientific, technical, or other
              specialized knowledge within the scope of Rule 702.

The Fifth Circuit has said that “[t]he distinction between lay and

expert testimony is that lay testimony ‘results from a process of

reasoning     familiar    in    everyday    life,’   while   expert      testimony

‘results from a process of reasoning which can be mastered only by

specialists in the field.’”         United States v. Ebron, 683 F.3d 105,

136-37 (5th Cir. 2012), cert. denied, 134 S. Ct. 512 (2013)

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(quoting United States v. Yanez Sosa, 513 F.3d 194, 200 (5th Cir.

2008) (quoting Advisory Committee Notes to 2000 Amendments)).

        Dasso’s declaration has all the indicia of an expert report:

it describes her qualifications, records that she received, and

opinions she formed based on her review of those records.                  The

court concludes that Dasso’s declaration constitutes an expert

report that was not disclosed as required by Rule 26.             Plaintiff’s

failure to timely disclose Dasso’s identity and a summary of the

facts and opinions to which she is expected to testify as required

by     Fed. R. Civ. P. 26(a)(2)(C) is neither substantially justified

by Plaintiff’s contention that Dasso is not testifying as an

expert, nor harmless.           Because the Revised Docket Control Order

(Docket Entry No. 102) set October 29, 2020, as the date for

submitting expert reports by the party with the burden of proof,105

and because the Dasso Declaration was not executed until February

23, 2021, and not disclosed to Defendants until Plaintiff filed its

MSJ on February 26, 2021, Plaintiff’s late disclosure of the Dasso

Declaration precluded Defendants from meeting the December 15,

2020,          deadline   for   disclosing    rebuttal     expert     reports.

Accordingly, Defendants’ motion to strike the Dasso Declaration

will be granted.106


        105
              Id. at 8-15.
        106
       Defendants object to two of the three trade data exhibits
referenced in the Dasso Declaration, i.e., Exhibits 30 and 33 to
                                                  (continued...)

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     106
       (...continued)
Plaintiff’s MSJ, as unauthenticated, but have not moved to strike
them. See e.g., Defendants’ Counter SOF, Docket Entry No. 168,
p. 2 (asserting that “Exhibit 30, the spreadsheet of trades
supposedly from ICE is unauthenticated and unexplained, and if
prepared by ICE as part of its investigation, cannot be deemed a
business record since it was prepared solely for the purposes of
litigation. Exhibit 31, the Declaration of Heather Dasso, does not
supply that authentication. She is the CFTC Investigator assigned
to this case, and this Declaration does not establish that she has
personal knowledge sufficient to authenticate Exhibit 30.”). See
also id. at 40 (asserting that “[t]he spreadsheet identified as
Exhibit 33 is unauthenticated.”). Although Defendants argue that
the Dasso Declaration purports to authenticate the three trade data
exhibits, “[a]t the summary judgment stage, evidence need not be
authenticated or otherwise presented in an admissible form.”
Maurer v. Independence Town, 870 F.3d 380, 384 (5th Cir. 2017)
(citing Fed. R. Civ. P. 56(c); Lee v. Offshore Logistical &
Transport, L.L.C., 859 F.3d 353, 355 (5th Cir. 2017); LSR
Consulting, LLC v. Wells Fargo Bank, N.A., 835 F.3d 530, 534 (5th
Cir. 2016)).   The Fifth Circuit explained that “[a]fter a 2010
revision to Rule 56, ‘materials cited to support or dispute a fact
need only be capable of being “presented in a form that would be
admissible in evidence.”’” Id. (quoting LSR Consulting, 835 F.3d
at 534 (quoting Fed. R. Civ. P. 56(c)(2)). The court explained
that “[t]his flexibility allows the court to consider the evidence
that would likely be admitted at trial — as summary judgment is
trying to determine if the evidence admitted at trial would allow
a jury to find in favor of the nonmovant — without imposing on
parties the time and expense it takes to authenticate everything in
the record.” Id. (citing Fed. R. Civ. P. 56(c)(1)(A)). Because
trade data that the IFUS is charged with maintaining is the type of
evidence that would likely be capable of being presented in a form
that would be admissible in evidence at trial, Defendants’
objections to the two trade data exhibits will be overruled. But
see United States Commodity Futures Trading Commission v. Dizona,
594 F.3d 408, 415-16 & n. 6 (5th Cir. 2010) (holding that CFTC
investigator was not a qualified witness pursuant to Federal Rule
of Evidence 803(6) for the purpose of laying a foundation to admit
spreadsheets of disputed commodity trades because the investigator
was not able to explain the record keeping system of the
organization that prepared the spreadsheets and vouch that the
requirements of Rule 803(6) had been satisfied).

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                  IV. The Cross Motions for Summary Judgment

        Plaintiff seeks summary judgment on all counts.                   Defendants

seek summary judgment on Counts I and II regarding the allegations

of     fraud     asserted    against    Gizienski      and   EOX   as    Gizienski’s

employer, and partial summary judgment on Counts III and IV for

record-keeping and supervision violations asserted against EOX.107



A.      Standard of Review

        Summary judgment is authorized if the movant establishes that

there is no genuine dispute about any material fact and that the

movant is entitled to judgment as a matter of law.                 Fed. R. Civ. P.

56(a).         Disputes about material facts are genuine if the evidence

is such that a reasonable jury could return a verdict for the

nonmoving party. Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505,

2511     (1986).       “The    party   moving    for    summary      judgment     must

‘demonstrate the absence of a genuine issue of material fact,’ but

need not negate the elements of the nonmovant’s case.”                     Little v.

Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per

curiam) (quoting Celotex Corp. v. Catrett, 106 S. Ct. 2548, 2553

(1986)).         “If the moving party fails to meet this initial burden,

the motion must be denied, regardless of the nonmovant’s response.”

Id.       If,     however,    the   moving   party   meets    this      burden,   “the

nonmovant must go beyond the pleadings and designate specific facts


        107
              Defendants’ MSJ, Docket Entry No. 160, p. 1.

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showing that there is a genuine issue for trial.”               Id.    Factual

controversies are to be resolved in favor of the nonmovant, “but

only when there is an actual controversy, that is, when both

parties have submitted evidence of contradictory facts.”               Id.   The

court will not, “in the absence of any proof, assume that the

nonnmoving party could or would prove the necessary facts.”                  Id.

(emphasis in original).         “[T]he court must draw all reasonable

inferences in favor of the nonmoving party, and it may not make

credibility determinations or weigh the evidence.”                   Reeves v.

Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).

     “When    parties    file   cross-motions       for    summary    judgment,

[courts] review ‘each party’s motion independently, viewing the

evidence   and   inferences     in   the    light   most   favorable    to   the

nonmoving party.’”       Cooley v. Housing Authority of the City of

Slidell, 747 F.3d 295, 298 (5th Cir. 2014) (quoting Ford Motor Co.

v. Texas Department of Transportation, 264 F.3d 493, 498 (5th Cir.

2001)).    See also Shaw Constructors v. ICF Kaiser Engineers, Inc.,

395 F.3d 533, 538-39 (5th Cir. 2004), cert. denied sub nom. PCS

Nitrogen Fertilizer, L.P. v. Shaw Constructors, Inc., 126 S. Ct.

342 (2005) (“Cross-motions must be considered separately, as each

movant bears the burden of establishing that no genuine issue of

material fact exists and that it is entitled to judgment as a

matter of law.”).       If the dispositive issue is one on which the

moving party will bear the burden of proof at trial, the moving


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party “must come forward with evidence which would ‘entitle it to

a directed verdict if the evidence went uncontroverted at trial.’”

International Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257,

1264-65 (5th Cir. 1991), cert. denied, 112 S. Ct. 936 (1992).               The

nonmoving party can then defeat the motion either by countering

with sufficient evidence of its own, or by “showing that the moving

party’s   evidence    is   so   sheer   that   it   may    not   persuade   the

reasonable fact-finder to return a verdict in favor of the moving

party.”    Id.   at   1265.     “The    standard    [for   granting   summary

judgment] mirrors the standard for a directed verdict under Federal

Rule of Civil Procedure 50(a).”         Anderson, 106 S. Ct. at 2511.        If

the dispositive issue is one on which the nonmoving party will bear

the burden of proof at trial, the moving party may satisfy its

burden by merely pointing out that the evidence in the record is

insufficient with respect to an essential element of the nonmoving

party’s claim.     See Celotex, 106 S. Ct. at 2552-53.             The burden

then shifts to the nonmoving party, who must, by submitting or

referring to evidence, set out specific facts showing that a

genuine issue exists.       Id. at 2553.       The nonmovant may not rest

upon the pleadings, but must identify specific facts that establish

a genuine issue for trial.       Id.    See also Little, 37 F.3d at 1075.




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B.      Analysis

        1.          Count I

        Count I of Plaintiff’s Complaint alleges that

        [d]uring the relevant period, Gizienski violated 7 U.S.C.
        § 9(1) and 17 C.F.R. § 180.1(a) by, in connection with
        swaps, contracts of sale of commodities in interstate
        commerce, or contracts for future delivery on or subject
        to the rules of any registered entity: (i) intentionally
        or recklessly trading on the basis of material, nonpublic
        information in breach of a pre-existing duty owed to EOX
        customers; (ii) intentionally or recklessly tipping
        material, nonpublic information about EOX customers to
        Customer A in breach of a pre-existing duty owed to EOX
        customers; and/or (iii) intentionally or recklessly
        engaging, or attempting to engage, in acts, practices, or
        a course of business which operated or would operate as
        a fraud or deceit upon other persons.108

Asserting that Gizienski committed the alleged acts within the

scope of his employment,109 plaintiff alleges that EOX is liable for

Gizienski’s violations,110 and that a violation occurred each time

Gizienski traded on the basis of material, nonpublic information or

tipped material, nonpublic information to Customer A.111



                    (a)   Applicable Law

        Title 7 U.S.C. § 9(1), § 6(c)(1) of the CEA, makes it

        unlawful for any person, directly or indirectly, to use
        or employ, or attempt to use or employ, in connection


        108
              Plaintiff’s Complaint, Docket Entry No. 1, p. 17 ¶ 78.
        109
              Id. ¶ 79.
        110
              Id.
        111
              Id. ¶ 80.

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     with any swap, or a contract of sale of any commodity in
     interstate commerce, or for future delivery on or subject
     to the rules of any registered entity, any manipulative
     or deceptive device or contrivance, in contravention of
     such rules and regulations as the Commission shall
     promulgate by not later than 1 year after July 21, 2010,
     provided no rule or regulation promulgated by the
     Commission shall require any person to disclose to
     another person nonpublic information that may be material
     to the market price, rate, or level of the commodity
     transaction, except as necessary to make any statement
     made to the other person in or in connection with the
     transaction not misleading in any material respect.

Rule 180.1(a), promulgated thereunder provides in pertinent part:

     It shall be unlawful for any person, directly or
     indirectly, in connection with any swap, or contract of
     sale of any commodity in interstate commerce, or contract
     for future delivery on or subject to the rules of any
     registered entity, to intentionally or recklessly:

     (1) Use or employ, or attempt to use or employ, any
     manipulative device, scheme, or artifice to defraud;

     (2) Make, or attempt to make, any untrue or misleading
     statement of a material fact or to omit to state a
     material fact necessary in order to make the statements
     made not untrue or misleading;

     (3) Engage, or attempt to engage, in any act, practice,
     or course of business, which operates or would operate as
     a fraud or deceit upon any person; . . .

17 C.F.R. 180.1(a).

     The parties do not cite and the court has not found a case in

which a broker has been held liable for misappropriating material,

nonpublic information in violation of 7 U.S.C. § 9(1) and Rule

180.1.112   It   is   undisputed,   however,    that   7   U.S.C.   §   9(1),


     112
       Plaintiff has cited a number of administrative enforcement
actions that have been brought and settled under 17 C.F.R. § 180.1
                                                    (continued...)

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§ 6(c)(1) of the CEA, and Rule 180.1 are modeled on § 10(b) of the

Securities Exchange Act (“Exchange Act”) and Securities Exchange

Commission   (“SEC”)    Rule   10b-5,   and   that   misappropriation        of

material, non-public information in breach of a pre-existing duty

violates § 10(b) and Rule 10b-5.

     In adopting Rule 180.1, the CFTC stated:

           The language of CEA [§] 6(c)(1), particularly the
     operative phrase “manipulative or deceptive device or
     contrivance,” is virtually identical to the terms used in
     [§] 10(b) of the Securities Exchange Act of 1934
     (“Exchange Act”).     The Supreme Court has interpreted
     these    words   to   “clearly   connot[e]    intentional
     misconduct.” The Supreme Court has also stated that the
     statute was “designed as a catchall clause to prevent
     fraudulent practices.”

          Based on the language in Exchange Act [§] 10(b), the
     [SEC] promulgated SEC Rule 10b-5 . . .

          Given the similarities between CEA [§] 6(c)(1) and
     Exchange Act [§] 10(b), the Commission deems it
     appropriate and in the public interest to model final
     Rule 180.1 on SEC Rule 10b-5.      To account for the
     differences between the securities markets and the


     112
       (...continued)
against respondents who allegedly misappropriated and tipped or
traded upon material non-public information in breach of a pre-
existing duty. See Plaintiff’s CFTC’s Memorandum of law in Support
of Motion for Summary Judgment (“Plaintiff’s Memorandum in Support
of MSJ”), Docket Entry No. 151, pp. 22-23 (citing In re Schultz,
CFTC No. 20-76, 2020 WL 5876731 (September 30, 2020) (Respondent
improperly disclosed confidential block trade order information to
other market participants); In re Classic Energy, CFTC No. 19-50,
2019 WL 4915492 (September 30, 2019) (Respondent block trade broker
improperly traded against customers while in possession of their
material non-public information); In re Motazida, CFTC No. 16-02,
2015 WL 7880066 (December 2, 2015) (Respondent gasoline trader
improperly used his employer’s trading information to trade for his
own benefit), Exhibits A-C, respectively to Plaintiff’s Memorandum
in Support of MSJ, Docket Entry No. 151-1).

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     derivatives markets, the Commission will be guided, but
     not controlled, by the substantial body of judicial
     precedent applying the comparable language of SEC Rule
     10b-5. . .

          Final Rule 180.1 prohibits fraud and fraud-based
     manipulations, and attempts: (1) By any person (2) acting
     intentionally or recklessly (3) in connection with
     (4) any swap, or contract of sale of any commodity in
     interstate commerce, or contract for future delivery on
     or subject to the rules of any registered entity (as
     defined in the CEA).    CEA [§] 6(c)(1) and final Rule
     180.1, like Exchange Act [§] 10(b) and SEC Rule 10b-5
     upon which they are modeled, focus on conduct involving
     manipulation and deception.

Prohibition    on     the   Employment,    or   Attempted    Employment,      of

Manipulative    and    Deceptive    Devices     and   Prohibition     on   Price

Manipulation [Action: Final Rules], 76 Fed. Reg. 41,398, 41,399-400

(July   14,   2011)    (citations   omitted).         Acknowledging    that   it

received comments regarding trading on the basis of material,

nonpublic information, and that those comments used the label

“insider trading,” which can mean different things in different

contexts, the CFTC recognized

     that unlike securities markets, derivatives markets have
     long operated in a way that allows for market
     participants to trade on the basis of lawfully obtained
     material nonpublic information. This final Rule does not
     prohibit trading on the basis of material nonpublic
     information except as provided in the following paragraph
     or otherwise prohibited by law. Further, the Commission
     reiterates that the final Rule does not create an
     affirmative duty of disclosure (except, as provided by
     [§] 6(c)(1), “as necessary to make any statement made to
     the other person in or in connection with the transaction
     not misleading in any material respect”).

          Depending on the facts and circumstances, a person
     who engages in deceptive or manipulative conduct in
     connection with any swap, or contract of sale of any

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     commodity in interstate commerce, or contract for future
     delivery on or subject to the rules of any registered
     entity, for example by trading on the basis of material
     nonpublic information in breach of a pre-existing duty
     (established by another law or rule, or agreement,
     understanding, or some other source), or by trading on
     the basis of material nonpublic information that was
     obtained through fraud or deception, may be in violation
     of final Rule 180.1. The Commission believes that this
     application of the final Rule would be consistent with
     our responsibility to protect market participants and
     promote market integrity and with our statement in the
     [Notice of Proposed Rulemaking] that [§] 6(c)(1) is a
     broad catch-all provision, reaching any manipulative or
     deceptive device or contrivance.

Id. at 41,403 (citations omitted).113


     113
           The Notice of Proposed Rulemaking states:

     Section 6(c)(1)

           The text of CEA section (c)(1) is patterned after
     [§] 10(b) of the Securities Exchange Act of 1934
     (“Exchange Act”). Exchange Act section 10(b) has been
     interpreted as a broad, “catch-all” prohibition on fraud
     and manipulation. Likewise, the Commission proposes to
     interpret CEA section 6(c)(1) as a broad, catch-all
     provision reaching fraud in all its forms — that is,
     intentional or reckless conduct that deceives or defrauds
     market participants. Subsection (c)(1) is also similar
     to the anti-manipulation authority granted to the Federal
     Energy Regulatory Commission (“FERC”) in sections 315 and
     1283 of the Energy Policy Act of 2005, amending the
     Natural Gas Act and the Federal Power Act, respectively,
     and the Federal Trade Commission (“FTC”) in sections 811
     and 812 of the Energy Independence and Security Act of
     2007.

          The SEC promulgated Rule 10b-5 to implement section
     10(b) of the Exchange Act. The FERC and the FTC have
     promulgated rules based on SEC Rule 10b-5 to implement
     their respective statutory anti-manipulation authority,
     but have modified SEC Rule 10b-5 as appropriate to
     reflect   their   distinct   regulatory   missions   and
     responsibilities.
                                                    (continued...)

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      Plaintiff alleges that Gizienski violated 7 U.S.C. § 9(1) and

Rule 180.1 by misappropriating EOX customers’ order information

that “he learned in his capacity as a broker for EOX in two ways:

(1) by trading against customers’ orders through the [Managed]

Account; and (2) by tipping, i.e., passing the information along

to,   Vaccaro.”114        The   misappropriation    theory   developed   under

§ 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder

“holds      that   a   person   commits   fraud    ‘in   connection   with’   a

securities transaction, and thereby violates § 10(b) and Rule 10b-

5, when he misappropriates confidential information for securities

trading purposes, in breach of a duty owed to the source of the

information.”          United States v. O’Hagan, 117 S. Ct. 2199, 2207

(1997).

      O’Hagan involved an appeal of a criminal conviction for

insider trading.         A lawyer named O’Hagan traded the securities of

a company his client was targeting for a takeover.                    Although

O’Hagan could not be held liable under the classical theory of


      113
        (...continued)
           Guided by [§] 6(c)(1)’s similarity to Exchange Act
      [§] 10(b), the Commission proposes an implementing rule
      that is also modeled on SEC Rule 10b-5, with modification
      to reflect the CFTC’s distinct regulatory mission and
      responsibilities.

Prohibition of Market Manipulation [Action: Notice of Proposed
Rulemaking], 75 Fed. Reg. 67,657, 67,658 (November 3, 2010)
(citations omitted).
      114
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 24.

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insider trading because he owed no duty to the shareholders of the

target company, the Court nevertheless held that he had violated

§ 10(b).      The Court held that in trading the target company’s

securities,     O’Hagan    misappropriated      confidential      information

regarding the planned corporate takeover, breaching “a duty of

trust and confidence” that he owed both to his law firm and client.

Id. at 2208.        The Court held that the deception requirement of

§ 10(b) was satisfied by the misappropriator’s “feigning fidelity

to the source of [the confidential] information.”                Id. at 2209.

The Court explained that “[a] company’s confidential information .

. . qualifies as property to which the company has a right of

exclusive use” and “[t]he undisclosed misappropriation of such

information, in violation of a fiduciary duty . . . constitutes

fraud akin to embezzlement — the fraudulent appropriation to one’s

own use of the money or goods entrusted to one’s care by another.”

Id. at 2208 (citing Carpenter v. United States, 108 S. Ct. 316, 317

(1987)).      However, the Court also held that if the fiduciary

discloses to the source of the confidential information his or her

intent to trade based on the information, there is no “deceptive

device” constituting a violation of § 10(b).              Id. at 2209.

     The O’Hagan Court held that § 10(b)’s requirement that the

deception be “in connection with the purchase or sale of any

security”     was    satisfied   because   “the    fiduciary’s      fraud    is

consummated,    not    when   the   fiduciary     gains    the   confidential


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information, but when, without disclosure to his principal, he uses

the information to purchase or sell securities.                           The securities

transaction and the breach of duty thus coincide.”                        Id.     The Court

explained that information targeted by the misappropriation theory

is     “information         of    a    sort     that   misappropriators          ordinarily

capitalize upon to gain no-risk profits through the purchase or

sale of securities,” id., i.e., information that “ordinarily”

“derives its value . . . from its utility in securities trading.”

Id. at 2210.

        Thus, to succeed on either of its two theories of liability

for      Count        I,     Plaintiff        must     establish         that    Gizienski

(1) misappropriated confidential information in breach of a pre-

existing       duty    of    trust     and    confidence      to   the    source    of   the

information; (2) intentionally or recklessly, i.e., with scienter;

(3) in connection with a contract for sale or purchase of a

commodity in interstate commerce; (4) for personal benefit.                           See 7

U.S.C. § 9(1), 17 C.F.R. § 180.1(a).                   See also O’Hagan, 117 S. Ct.

at 2207-08; Securities and Exchange Commission v. Cuban, 634

F.Supp.2d 713, 723-25 (N.D. Tex. 2009) (“Cuban I”), vacated on

other grounds, Securities and Exchange Commission v. Cuban, 620

F.3d     551   (5th        Cir.   2010)      (“Cuban   II”)    (stating     elements     of

misappropriation with respect to the securities laws); Securities

and Exchange Commission v. Obus, 693 F.3d 276, 284 (2d Cir. 2001)

(“[M]isappropriation[]                targets    persons   who     are     not   corporate


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insiders but to whom material non-public information has been

entrusted in confidence and who breach a fiduciary duty to the

source of the information to gain personal profit in the securities

market.”).



           (b)   Defendants Fail to Establish that They are Entitled
                 to Summary Judgment on Count I

     Asserting that they “were fully disclosed dual agents, acting

as brokers for Customers B-F, on the one hand, and matching them

with other of their customers,”115 Defendants argue that they are

entitled to summary judgment on Count I because they did not breach

any duty of confidentiality and because EOX’s customers agreed to

Defendants’ brokering for other traders, even their competitors.116




     115
       Defendants’ Corrected Memorandum in Support of Their Motion
for Summary Judgment on Counts I & II, and for Partial Summary
Judgment on Counts III & IV (“Defendants’ Memorandum in Support of
MSJ”), Docket Entry No. 179, p. 20.
     116
       Id. at 20-23. Defendants also argue that Plaintiff should
be barred from advancing argument about the twenty unspecified
instances alleged in ¶ 53 of the Complaint because Plaintiff has
refused to reveal its contentions about what confidential
information was disclosed in the twenty instances. Id. at 14-15,
21-22. Defendants expressly complain about Plaintiff’s disclosure
of instant message transcripts that that they argue Plaintiff
should not be able to use in summary judgment. Reply in Support of
Their Motion for Summary Judgment on Counts I & II, and for Partial
Summary Judgment on Counts III & IV (“Defendants’ Reply in Support
of MSJ”), Docket Entry No. 174, pp. 13-16. Because the court has
been able to resolve the pending motions without relying to any of
the instant messages transcripts about which Defendants complain or
the SOFs for which Plaintiff cites those instant message
transcripts, this argument is moot.

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                     (1)    Whether Defendants Owed Duties of Trust and
                            Confidence to EOX Customers Raise Fact Issues

     Defendants argue that “now that discovery has concluded, it is

clear      that    the   CFTC   .    .   .    has   no   proof   of   any   duty   of

confidentiality or violation of any such duty.”117 Defendants argue

“[t]here is no need for an exegesis on the law of duty in this

context.         That law is fulsomely described in the Court’s [prior

Memorandum        Opinion   and     Order      denying   Defendants’    motion     to

dismiss.]”118       Asserting that EOX had BSAs with four customers that

explicitly allowed them to disclose information and had no BSAs

with the other two customers and, therefore, no confidentiality

agreements with them, and that IFUS Rule 4.02 prohibits pre-

execution communications but does not impose any duty of trust and

confidentiality, Defendants argue that “[t]he CFTC has no evidence

of any duty of confidentiality . . . with Customers B-F.”119

     Plaintiff responds that the allegations in Count I “are

supported by overwhelming and undisputed evidence that Gizienski

misused     his    customers’       confidential     block   trading    orders     and

information and that he traded against his customers without their




     117
       Defendants’ Memorandum in Support of MSJ, Docket Entry
No. 179, p. 21.
     118
           Id.
     119
       Id. See also Defendants’ Reply in Support of MSJ, Docket
Entry No. 174, pp. 8-11.

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consent.”120         Plaintiff argues that “Defendants’ contention that

there is ‘no evidence of any duty of confidentiality’ is easily

disproven by law, rule, agreement, and understanding,”121 i.e., by

17 C.F.R. § 155.4(b)(2); by IFUS Rule 4.02(i); by the BSAs that EOX

had   with        DTE,   PSEG,       Geosol,    and    Constellation,     and   by

understanding.122

      Defendants’ argument that “[t]here is no need for an exegesis

on the law of duty in this context,”123 fails to recognize that

courts have been struggling with this precise issue for some time.

See e.g., Cuban I, 634 F. Supp. 2d at 720-27 (addressing what

relationship of trust and confidence is sufficient to create a

duty, breach of which could support liability for misappropriation,

citing       cases    from   other     circuits,      and   concluding   that   the

relationship need not bear all the hallmarks of a traditional

fiduciary relationship); (Cuban II, 620 F.3d at 555 (recognizing

that “O’Hagan did not set the contours of a relationship of ‘trust

and confidence’ giving rise to the duty to disclose or abstain and

misappropriation liability.”).             See also Securities and Exchange

Commission v. Kornman, 391 F. Supp.2d 477, 488-89 (N.D. Tex.


      120
       Plaintiff’s Response in Opposition to Defendants’ Second
Motion for Partial Summary Judgment (“Plaintiff’s Response to
Defendants’ MSJ”), Docket Entry No. 166, p. 8.
      121
            Id.
      122
            Id. at 8-12.
      123
            Id.

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2005)(“consider[ing] the indicia giving rise to a fiduciary or

fiduciary-like relationship in the arena of securities fraud”).

However, since, as explained in O’Hagan, and recognized in Cuban I,

634 F. Supp. 2d at 729, and Cuban II, 620 F.3d at 554-555, the

undisclosed use of confidential information, in breach of a duty

not to use it for personal benefit, is what makes conduct deceptive

under § 10(b) and Rule 10b-5, the court concludes that a duty of

trust and confidence sufficient to support Plaintiff’s claims for

misappropriation under 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a) is

a duty not to use confidential information for personal benefit.

Whether such a duty exists is a question of fact for the jury.          See

Securities and Exchange Commission v. Cuban (Cuban III), No. 3:08-

CV-2050-D, 2013 WL 791405, at *4-*6 (N.D. Tex. March 5, 2013).          See

also United States Securities and Exchange Commission v. Northern,

598 F.Supp.2d 167, 173-74 (D. Mass. 2009) (“The existence of such

a similar relationship is a question for the jury.”).



                             (i)   17 C.F.R. § 155.4(b) Imposes a Legal
                                   Duty of Trust and Confidentiality

     As the legal source for a duty of trust and confidentiality

that Defendants owed to EOX customers Plaintiff cites 17 C.F.R.

§ 155.4(b),124 which states in relevant part, that

     [n]o introducing broker or any of its affiliated persons
     shall:


     124
           Plaintiff’s Complaint, Docket Entry No. 1, p. 6 ¶¶ 23-25.

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     (1)   Disclose that an order of another person is being
           held by the introducing broker or any of its
           affiliated persons, unless such disclosure is
           necessary to the effective execution of such order
           . . .; or

     (2)   (i) Knowingly take, directly or indirectly, the
           other side of any order of another person revealed
           to the introducing broker or any of its affiliated
           persons by reason of their relationship to such
           person, except with the other person’s prior
           consent and in conformity with contract market
           rules approved by or certified to the Commission.

     Defendants do not dispute that 17 C.F.R. § 155.4(b) applies to

them since EOX is an Introducing Broker and Gizienski was an EOX

Affiliated Person.125     Nor do Defendants dispute that § 155.4(b)

imposes on them a duty of trust and confidentiality not to use

customer order information “unless such disclosure is necessary to

the effective execution of such order,” and not to take the other

side of any order “except with the other person’s prior consent.”

See Cuban I, 634 F.Supp.2d at 722 (recognizing that an agency

regulation promulgated under authority conferred by Congress can

impose a duty of trust and confidentiality).           Because 17 C.F.R.

§ 155.4(b)(i) imposes legal duties on Defendants not to “[d]isclose

that an order of another person is being held by the introducing

broker or any of its affiliated persons, unless such disclosure is

necessary to the effective execution of such order,” and “not to

take, directly or indirectly, the other side of any order of



     125
       Plaintiff’s SOF, Docket Entry No. 152, pp. 1-2 ¶¶ 2 and 8;
Defendants’ Counter SOF, Docket Entry No. 168, pp. 2-3 ¶¶ 2 and 8.

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another person revealed to the introducing broker or any of its

affiliated persons by reason of their relationship to such person,

except with the other person’s prior consent,” the court concludes

that 17 C.F.R. § 155.4 imposes duties on Defendants not to disclose

or use EOX customers’ confidential information for personal benefit

that are both applicable to Defendants and sufficient to support

the claim of misappropriation asserted in Count I of Plaintiff’s

Complaint.



                             (ii) IFUS Rule 4.02 Imposes a Duty of
                                  Trust and Confidentiality

     As a rule that imposes a duty of trust and confidentiality

that Defendants owed to EOX customers Plaintiff cites IFUS Rule

4.02(i).126     Without disputing that IFUS Rule 4.02(i) applies to

them, Defendants argue that Plaintiff’s reliance on Rule 4.02(i)

“fails for want of argument or explanation, but in any event is

wrong.”127 Defendants argue that Plaintiff’s interpretation of IFUS

Rule 4.02(i) is wrong because “[a]ll [Rule 4.02] prohibits is

disclosure of ‘pre-execution communications.’”128 Plaintiff replies


     126
           Plaintiff’s Complaint, Docket Entry No. 1, p. 6 ¶¶ 26-27.
     127
       Defendants’ Opposition to Plaintiff’s MSJ, Docket Entry
No. 167-1, p. 14 (citing Defendants’ summary judgment memorandum).
     128
       Defendants’ Memorandum in Support of MSJ, Docket Entry
No. 179, p. 21.    See also Defendants’ Memorandum in Support of
Their Motion for Summary Judgment on Counts I & II, and for Partial
Summary Judgment on Counts III & IV (“Defendants’ First Memorandum
                                                     (continued...)

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that Defendants are mistaken because Rule 4.02(i) prohibits all

disclosures of customer order information unless the disclosures

meet one of three exceptions none of which apply to the facts of

this case.129

     In pertinent part IFUS Rule 4.02 states that

     [i]n connection with the placement of any order or
     execution of any Transaction, it shall be a violation of
     the Rules for any Person to:

                                   . . .

          (i) Disclose or divulge the buy or sell order of
     another Person except (1) in furtherance of executing the
     order, (2) at the request of an authorized representative
     of the CFTC or (3) pursuant to sub-paragraph (k) of this
     Rule regarding certain pre-execution communications.

                                   . . .

           (k)   Engage in pre-execution communications, except
                 in accordance with the following procedures:

                 (1)   For the purposes of this Chapter, pre-
                       execution   communications   shall   mean
                       communications between two (2) market
                       participants    for   the   purpose    of
                       discerning interest in the execution of a
                       Transaction prior to the terms of an
                       order being entered on the ETS and
                       visible to all market participants on the
                       electronic trading screen.

                 (2)   A market participant may engage in pre-
                       execution communications with regard to
                       Transactions executed on ETS where a


     128
       (...continued)
in Support of MSJ”), Docket Entry No. 160-1, p. 21 (citing Rule 4.7
instead of Rule 4.02).
     129
       Plaintiff’s     Response   to   Defendants’    MSJ,   Docket   Entry
No. 166, p. 10.

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                       market participant wishes to be assured
                       that another market participant will take
                       the opposite side of an order under the
                       following circumstances:

                       (A)   If a Customer is involved, the
                             Customer has previously consented to
                             such communications being made on
                             its behalf;

                       (B)   A     party    to     pre-execution
                             communications shall not disclose
                             the details of such communications
                             to any Person who is not a party to
                             the communications;

                       (C)   A     party     to     pre-execution
                             communications shall not enter an
                             order    to   take   advantage    of
                             information conveyed during such
                             communications, except in accordance
                             with this Rule; . . .

IFUS Rule 4.02(i) and (k).

     Defendants’ contend that “[a]ll [Rule 4.02(i)] prohibits is

‘disclosure   of   ‘pre-execution     communications,’”      but    fail     to

identify any part of the rule that limits the prohibition of

disclosures to pre-execution communications. To the contrary, Rule

4.02(k) expressly prohibits “pre-execution communications,” except

in accordance with a number of defined procedures.                 Moreover,

Defendants neither argue nor show that any of the exceptions in

Rule 4.02 apply to the disclosures at issue.

     Because Rule 4.02(i) and (k) impose duties on Defendants not

to use their customers’ confidential order information unless such

use is necessary to the effective execution of such order, and

because Rule 4.02(k)(2)(C) prohibits a party to pre-execution

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communications           from   entering    an     order    to    take   advantage       of

information         conveyed     during     such     communications,         except      in

accordance        with    the   procedures       identified      therein,    the      court

concludes that IFUS Rule 4.02 imposes duties on Defendants not to

use EXO customers’ confidential information for personal benefit

that are both applicable to Defendants and sufficient to support

the claim of misappropriation asserted in Count I of Plaintiff’s

Complaint.



                                   (iii)          Agreements May Impose Duties of
                                                  Trust and Confidentiality

        As additional sources for a duty of trust and confidentiality

that Defendants owed to EOX customers Plaintiff cites the BSAs that

EOX executed with its customers that “prohibited EOX from using or

disclosing         confidential      customer       information,         such    as     the

customer’s         trading      activity,    except        as    necessary      for     the

facilitation of block trades with third parties.”130

        Asserting that “[i]t is difficult to understand why and how

Plaintiff can allege a conflict of interest and lack of disclosure

to the four Customers whose [BSAs] explicitly contained a consent

to      Defendants’         brokering       for     other        traders,       including

competitors,”131 Defendants argue that “[a]s a matter of fact and



        130
              Plaintiff’s Complaint, Docket Entry No. 1, p. 6 ¶ 21.
        131
       Defendants’ Memorandum in Support of                        MSJ, Docket Entry
No. 179, pp. 22-23.

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law, there can be no conflict of interest since the Customers

consented        to    this     dual     representation         with     knowledge         that

Defendants would receive compensation from both sides of the

transactions.”132         Defendants argue that “[a] contrary ruling by

this Court will destroy the block brokerage business in which

traders      and      brokers     know    and     agree       that     brokers      will     be

representing other traders in varying capacities.                              A contrary

ruling will prohibit that entirely legitimate business.”133

     Asserting          that    Gizienski       did     not    share     EOX     customers’

confidential order information with Vaccaro to facilitate trades

but, instead, “simply to provide him ‘market color,’”134 Plaintiff

responds that “[c]ontrary to Defendants’ assertions, none of EOX’s

[BSAs] allowed EOX brokers to disclose customer order information

and intentions to Vaccaro in order to provide him valuable market

color.”135       As evidence that the BSAs that EOX executed with its

customers prohibited Defendants from using customers’ confidential

information,          Plaintiff    quotes       EOX’s    BSAs    with       PSEG,    Geosol,

Constellation, and DTE, but only attach the BSAs with PSEG, Geosol,

and DTE to its motion for summary judgment.136

     132
           Id. at 23.
     133
           Id.
     134
       Plaintiff’s            Response    to    Defendants’          MSJ,   Docket     Entry
No. 166, p. 10.
     135
           Id.
     136
           See Exhibits 59, 60, and 61                attached to Plaintiff’s SOF,
                                                                    (continued...)

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     The confidentiality paragraph in the DTE BSA states:

     The parties agree that all information exchanged by them
     shall be confidential and shall not be disclosed to any
     Third Party (nor shall any public announcement relating
     to this Agreement be made by either Party), except for
     such information (i) as may become generally available to
     the public, (ii) as required (a) in response to any
     summons, subpoena, or otherwise in connection with any
     litigation or regulatory proceeding or (b) to comply with
     any applicable law, order, regulation, ruling, or
     accounting disclosure rule or standard, (iii) as may be
     obtained from a non-confidential source that disclosed
     such information in a manner that did not violate its
     obligations to the non-disclosing Party in making such
     disclosure, or (iv) as may be furnished to each of such
     person’s auditors, attorneys, affiliates, advisors,
     rating agencies or lenders which are required to keep the
     information that is disclosed in confidence. . . .137

The DTE BSA also states that it “shall be interpreted in accordance

with the laws of the State of New York . . .”138

     The confidentiality paragraph in the Geosol BSA states:

     Choice specifically agrees that it shall not at any time
     divulge, disclose, or communicate to any person, firm, or
     corporation in any manner whatsoever any information of
     which Choice has knowledge by virtue of its performing
     Choice Services hereunder concerning any matters related
     to the purchase or sale activities of Counterparty
     including,   but   not   limited   to,   the   names   of
     Counterparty’s potential or actual buyers or sellers, the
     prices at which Counterparty obtains or has obtained or
     sells or has sold Products, or any other information
     regarding    Counterparty   Product    Transactions    or
     negotiations for Counterparty Product Transactions;


     136
       (...continued)
Docket Entry Nos. 152-60 (DTE BSA); 152-61 (Geosol BSA); 152-62
(PSEG BSA).
     137
       Brokerage Services Agreement, Exhibit 59 to Plaintiff’s SOF,
Docket Entry No. 152-60, p. 3 ¶ 6.
     138
           Id. at 4 ¶ 11.

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     provided however, nothing herein shall prevent Choice
     from communicating information to potential Product(s)
     buyers or sellers which is necessary or appropriate to
     perform Choice Services hereunder.139

The Geosol BSA also states that it “shall be interpreted in

accordance with the laws of the State of Texas. . .”140          Plaintiff

asserts and Defendants do not dispute that the Constellation BSA

contains the same relevant language.141

     The PSEG BSA states:

     All information and data provided to Broker by Client or
     created by Broker for Client under this Agreement,
     including Transaction information such as price, quantity
     and dates, shall become and remain confidential
     information of Client. Broker and its personnel shall
     keep   all   such   confidential  information    strictly
     confidential and shall not disclose or use such
     confidential information for the benefit of Broker or any
     other third parties except to a Third Party as defined
     herein, to the appropriate clearing agency if applicable
     (e.g. NYMEX Clearport), or to a court or governmental
     agency as required by law.      If requested by Client,
     Broker   shall    execute   and   deliver    a   separate
     confidentiality agreement in a reasonable form required
     by Client and approved by Client.142

The PSEG BSA also states that it “shall be governed and construed

in accordance with the laws of the State of New York.”143


     139
       Brokerage Services Agreement, Exhibit 60 to Plaintiff’s SOF,
Docket Entry No. 152-61, p. 3 ¶ 5.
     140
           Id. at 4 ¶ 10.
     141
       Plaintiff’s Response to Defendants’ MSJ, Docket Entry
No. 166, p. 11. See Constellation BSA, Exhibit 4 to Defendants’
MSJ, Docket Entry No. 160-2, pp. 24-28 ¶¶ 5 and 10 are identical to
the paragraphs in the Geosol BSA.
     142
       Broker Agreement, Exhibit 61 to Plaintiff’s SOF, Docket
Entry No. 152-62, p. 5 ¶ 6.1.
     143
           Id. at 6 ¶ 7.6.

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     In Cuban the court held that

     to establish liability under the misappropriation theory
     of insider trading in the absence of another legal duty
     to refrain from trading on or otherwise using material,
     nonpublic information for personal benefit (such as a
     duty arising from a fiduciary relationship), the SEC
     could rely on an express or implied agreement.

Cuban III, 2013 WL 791405, at *1 (citing Cuban I, 634 F. Supp. 2d

at 725) (recognizing that an agreement based on state contract law

imposing duties of nondisclosure and non-use can support liability

under the misappropriation theory).

     In Cuban I the court considered “whether, under the Supreme

Court’s precedents, breach of a legal duty arising by agreement can

be the basis for misappropriation theory liability, and, if so,

what are the essential components of the agreement.” 634 F.Supp.2d

at 722.     The   court held that “a duty sufficient to support

liability under the misappropriation theory can arise by agreement

absent a preexisting fiduciary or fiduciary-like relationship.”

Id. at 725. The court also held, however, that the agreement “must

consist of more than an express or implied promise merely to keep

information confidential.       It must also impose on the party who

receives the information the legal duty to refrain from trading on

or otherwise using the information for personal gain.”            Id.   The

court explained that

     [a]bsent a duty not to use the information for personal
     benefit, there is no deception in doing so. As in the
     fiduciary context, the deception occurs when a person
     secretly trades on confidential information in violation


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     of the source’s legitimate and justifiable expectation
     that the recipient will not do so.

Id. (citing      O’Hagan,   117    S.    Ct.   at   2208    (“Deception   through

nondisclosure is central to [this] theory of liability.”)).                      The

court explained further that

     [t]he expectation is not unilateral, arising merely from
     the source’s subjective belief that the recipient will
     not trade on the information.          It rests on the
     recipient’s undertaking of a duty to refrain from doing
     so as well. Cf. United States v. Chestman, 947 F.2d 551,
     567 (2d Cir. 1991) (noting, in context of insider trading
     suit, that “a fiduciary duty cannot be imposed
     unilaterally by entrusting a person with confidential
     information”); . . . For the recipient then to exploit
     the information’s value in the securities markets,
     without disclosing to the source his intent to do so,
     violates the source’s legitimate and justifiable
     expectation and deceives him. In short, the recipient’s
     agreement not to use the source’s information for
     personal   benefit,    combined   with   his   subsequent
     undisclosed use of the information for securities trading
     purposes, makes his conduct deceptive under § 10(b) and
     Rule 10b-5.

Id. at 725-26.       Observing that no other court appeared to have

analyzed   the    nature    of    an    agreement    that    can   give   rise    to

misappropriation liability, id. at 726, the court noted that

“[c]ases decided both before and after O’Hagan have recognized that

a duty sufficient to support misappropriation theory liability may

arise by agreement.”             Id. n. 7 (citing e.g., Securities and

Exchange Commission v. Yun, 327 F.3d 1263, 1273 (11th Cir. 2003);

United States v. Falcone, 257 F.3d 226, 234 (2d Cir. 2001); and

Chestman, 947 F.2d at 567-68).




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      In reaching its conclusion that an agreement sufficient to

support liability for misappropriation must consist of more than an

express or implied promise merely to keep information confidential,

and that it must also impose on the party who receives the

information the legal duty to refrain from trading on or otherwise

using   the   information   for   personal   benefit,   the   Cuban   court

declined to follow United States v. Kim, 184 F.Supp.2d 1006, 1011

(N.D. Cal. 2002) (holding that “a similar relationship of trust and

confidence must be characterized by superiority, dominance, and

control”).    The court reasoned that

      if an agreement has the elements necessary to conform to
      the principles of the misappropriation theory liability
      recognized in O’Hagan, it should not be determinative
      whether the agreement creates a relationship in which one
      party is superior to, or exercises control or dominance
      over, the other.

Cuban I, 634 F. Supp. 2d at 727.       The court also observed that

      [t]he goal of protecting the integrity of the securities
      markets and promoting investor confidence would be
      achieved just as effectively by enforcing duties of
      nondisclosure and non-use that arise by agreement as by
      enforcing duties that flow from the nature of the
      relationship between the information source and the
      misappropriator.

Id.

      Plaintiff argues that EOX executed BSAs with four of its

customers — DTE, Geosol, Constellation, and PSEG, and that all of

the BSAs characterized information exchanged between the parties as

confidential and prohibited disclosure of confidential information

to any Third Party except in exceptional circumstances, which

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Plaintiff argues are not present here.144 Plaintiff argues that the

BSAs prohibited the disclosure of confidential information to any

Third Party, but does not explicitly argue that any of the BSAs

precluded EOX or Gizienski from using their customers’ order

information for trades or personal benefit.         Under Cuban     for the

BSAs to constitute agreements sufficient to support liability for

misappropriation, they must reflect agreements both not to disclose

and not to use the customer’s confidential information.

     Because the PSEG BSA states that “Broker and its personnel

shall keep all such confidential information strictly confidential

and shall not disclose or use such confidential information for the

benefit of Broker or any other third parties except to a Third

Party as defined herein,”145 the court has no trouble in concluding

that the PSEG BSA imposes duties on Defendants not to use PSEG’s

confidential   information     for    personal   benefit   that   are   both

applicable to Defendants and sufficient to support the claim of

misappropriation asserted in Count I of Plaintiff’s Complaint.

Whether the DTE, Geosol, and Constellation BSAs impose such duties

is a closer question because while they prohibit Defendants from

disclosing DTE’s, Geosol’s, and Constellation’s information, they


     144
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 25 (citing Plaintiff’s SOF 121, Docket Entry No. 152,
p.25 (quoting Exhibit 59, EOX Agreement with DTE, ¶ 6, Docket Entry
No. 152-60, p. 3)).
     145
       Broker Agreement, Exhibit 61 to Plaintiff’s SOF, Docket
Entry No. 152-62, p. 5 ¶ 6.1.

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do not expressly prohibit Defendants from using DTE’s, Geosol’s,

and Constellation’s information for personal benefit as does the

PSEG BSA.   Nevertheless, because the parties’ agreements may also

be evidenced by the manner in which the agreements were performed,

and   because   Gizienski     understood   that     EOX   owed   a   duty    of

confidentiality    to   its   customers,146   the   court   concludes       that

whether the agreements EOX had with DTE, Geosol, and Constellation

imposed duties of trust and confidentially on Defendants sufficient

to support Plaintiff’s misappropriation claims raise genuine issues

of material fact for trial.147       See Yun, 327 F.3d at 1273 (“[A]

breach of an agreement to maintain business confidences would also

suffice [for purposes of misappropriation theory]”); Securities and

Exchange Commission v. Talbot, 430 F.Supp.2d 1029, 1055 (C.D. Cal.

2006), rev’d on other grounds, 530 F.3d 1085 (9th Cir. 2008) (“The

existence of an express confidentiality agreement covering the

information at issue is persuasive evidence that the parties had a

relationship of trust and confidence.”).




      146
       Plaintiff’s Response to Defendants’ MSJ, Docket Entry
No. 166, p. 12 (citing Answer, Docket Entry No. 77, pp. 6-7 ¶ 28).
See also Gizeinski IFUS Interview, Exhibit 40 to Plaintiff’s SOF,
p. 24, Docket Entry No. 152-41, p. 25.
      147
       See Defendants’ Opposition to Plaintiff’s MSJ, Docket Entry
No. 167-1, p. 13 (citing Cuban II, 620 F.3d at 558, for recognizing
that there is a “paucity of jurisprudence on the question of what
constitutes a relationship of ‘trust and confidence’” and that
determining whether such a duty exists is and “inherently fact-
bound” endeavor).

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                                   (iv) Understandings Alone Do Not Impose
                                        Duties of Trust and Confidentiality

     In    support    of     its    argument     that       a    duty   of    trust    and

confidentiality was imposed by understanding, Plaintiff argues that

     [e]very witness in this case — including Gizienski —
     understood that EOX owed a duty of confidentiality to its
     customers. Gizienski was forthcoming in testimony about
     the existence of the duty of confidentiality, saying,
     “You can’t give up that information.         There is a
     confidentiality agreement between the broker and trader,
     and . . . you know . . . no information I receive from
     one client goes to another. . . I mean that’s industry
     policy . . .”148

Plaintiff   also     cites    the    depositions       of       two   EOX    brokers   who

testified    that    they     understood        they   were       not   to    share    the

identities of customers placing orders with others in the market,149

and depositions of representatives of three EOX customers — Geosol,

DTE, and PSEG — all of whom testified that traders for their

companies   did     not    permit    EOX   or    Gizienski        to    disclose   their

identities to other market participants.150                     But Plaintiff neither


     148
       Plaintiff’s Response to Defendants’ MSJ, Docket Entry
No. 166, p. 12 (citing Answer, Docket Entry No. 77, pp. 6-7 ¶ 28).
See also Gizeinski IFUS Interview, Exhibit 40 to Plaintiff’s SOF,
p. 24, Docket Entry No. 152-41, p. 25.
     149
       Id. (citing Plaintiff’s SOF ¶ 92, Docket Entry No. 152,
p. 18 (citing Exhibit 28, Deposition of Michael Derrett (“Derrett
Deposition”), pp. 23:6-24:5 Docket Entry No. 152-29, pp. 7-8; and
Exhibit 37, Deposition of John Klosek (“Klosek Deposition”), p.
29:5-8, Docket Entry No. 152-38, p. 5).
     150
       Id. (citing Plaintiff’s SOF ¶ 94, Docket Entry No. 152, p.
19 (citing Exhibit 25, Deposition of Alexander N. Elsik (“Elsik
Deposition”), p. 58:6-17, Docket Entry No. 152-26, p. 4 (testifying
about Geosol); Exhibit 7,    Deposition of Peter Grimes (“Grimes
                                                     (continued...)

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cites any authority in support of its argument that a duty of trust

and confidentiality can arise merely from an understanding, nor

distinguishes the understanding it contends gives rise to a duty of

trust and confidentiality sufficient to support misappropriation

claims from the agreements that it contends do the same.            Because

the only evidence that Plaintiff cites in support of understandings

held by EOX’s customers comes from Geosol, DTE, and PSEG, customers

with whom EOX had BSAs,151 i.e., written agreements that Plaintiff

argues imposed duties of trust and confidentiality on Defendants,

the court concludes that Plaintiff’s argument that a duty of trust

and confidentiality was imposed on Defendants by an understanding

is not an independent source for a duty of trust and understanding

sufficient to support misappropriation claims but, instead, is

simply a restatement of its argument that agreements EOX had with

its customers imposed duties of trust and confidentiality on the

Defendants.




     150
       (...continued)
Deposition”), pp. 106:18-109:20, Docket Entry No. 152-8, pp. 7-10
(testifying about DTE); Exhibit 8, Deposition of Edward Mazzacano
(“Mazzacano Deposition”), pp. 83:24-84:9, Docket Entry No. 152-9,
pp. 4-5 (testifying about PSEG)).
     151
       See Exhibits 59-60 to Plaintiff’s SOF, BSAs between EOX and
DTE, Geosol, and PSEG, Docket Entry Nos. 152-60-62, respectively.

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                   (2)    Whether Defendants Breached Duties of Trust
                          and Confidentiality Owed to EOX Customers
                          Raises Fact Issues

     Asserting      that        they    did     not     breach     any        duty     of

confidentiality, Defendants argue that they were “fully disclosed

dual agents, acting as brokers for Customers B-F . . . and matching

them with other of their customers.”152               Defendants argue that BSAs

that EOX executed with four of its customers (DTE, Geosol, PSEG,

and Constellation) explicitly allowed them to make the disclosures

at issue, that Defendants did not owe the other two customers a

duty of trust and confidentiality because they had no written

contracts, and that IFUS Rule 4.02 did not create a duty of

confidence     because    “all    it    prohibits      is   disclosure        of    ‘pre-

execution       communications.’”153          Asserting       that       17        C.F.R.

§ 155.4(b)(2) and IFUS Rule 4.02(i) prohibit only disclosure of

information     related    to    an    order,   Defendants       also    argue       that

Plaintiff “has no proof that the information allegedly disclosed by

Mr. Gizienski is related to orders, . . . [and that w]ithout that

elemental       proof,    Plaintiff       cannot        impose    any         duty     of

confidentiality on Defendants.”154            Defendants argue that Plaintiff




     152
       Defendants’ Memorandum in Support of                   MSJ, Docket Entry
No. 179, p. 20.
     153
           Id. at 21.
     154
           Defendants’ Reply in Support of MSJ, Docket Entry No. 174,
p. 9.

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     compounds that failure of proof by ignoring the consent
     provision of ICE Rule 4.02(k)(2)(A), the provisions of
     the four contracts by which Defendants’ customers
     consented to the disclosure of information, and the
     uncontroverted testimony of traders Elsik and Grimes that
     the contracts and industry practice permitted Defendants’
     disclosure of the information the CFTC attacks.155

     For the reasons stated in § IV.B.1(b)(1)(i)-(ii), the court

has already concluded that 17 C.F.R. § 155.4(b) and IFUS Rule

4.02(i) impose on Defendants duties of trust and confidentiality

sufficient to support the misappropriation claims asserted in Count

I of Plaintiff’s Complaint.       Accordingly, for those same reasons

Defendants have failed to establish that they are entitled to

summary judgment on Count I based on their arguments that IFUS Rule

4.02 did not create a duty of trust and confidentiality, and that

they did not owe duties of trust and confidentiality to the two EOX

customers who did not have BSAs.          Defendants’ argument that they

are entitled to summary judgment on Count I because the BSAs that

EOX executed with four of its customers (DTE, Geosol, PSEG, and

Constellation) explicitly allowed them to make the disclosures at

issue fairs no better because whether the BSAs permitted the

disclosures at issue raise genuine issues of material fact for

trial.

     The summary judgment record contains undisputed evidence that

Gizienski disclosed to Vaccaro non-public information relating to

the identities, positions, orders, and trading interests of EOX


     155
           Id.

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customers, and that Gizienski disclosed that information to Vaccaro

not for the purpose of executing trades for any of EOX’s customers,

but to “giv[e Vaccaro] market color.”156                 Asserting that EOX’s

brokerage services “included providing market intelligence and

market color to its customers,”157 Defendants argue that the EOX’s

BSAs “granted the[m] legal right to make disclosures as they deemed

‘necessary and appropriate’ or ‘to a third party’ in rendering

their brokerage services.”158 But missing from Defendants’ briefing

are citations to provisions in any of the BSAs in which DTE,

Geosol,     Constellation,    or     PSEG   granted     Defendants    consent    to

disclose      their   nonpublic    information     to    other   customers      for

purposes of providing them “market intelligence” or “market color.”

Instead,      the   BSAs   granted    Defendants      consent    to   disclose   a

customer’s confidential information “as they deemed ‘necessary and

appropriate’” or “‘to a third party’ in rendering their brokerage

services.” Whether the disclosures about which Plaintiff complains

were “necessary and appropriate” or otherwise made in accordance



     156
       Plaintiff’s SOF, Docket Entry No. 152, p. 24, ¶ 118 (quoting
Gizienski Investigative Testimony, p. 132:19, and citing id. at
132:17-134:2, Exhibit 5 to Plaintiff’s MSJ, Docket Entry No. 152-6,
pp. 26-28; and Gizienski Response to RFA, Exhibit 38 to Plaintiff’s
MSJ, Docket Entry No. 152-39, pp. 8 ¶ 21, 11 ¶ 32, 14 ¶ 46, 16
¶ 56, 18 ¶ 68); Defendants’ Counter SOF, Docket Entry No. 168,
p. 84 ¶ 118.
     157
           Defendants’ Reply in Support of MSJ, Docket Entry No. 174,
p. 10.
     158
           Id. at 9-10.

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with a BSA necessarily raise genuine issues of material fact as to

whether Defendants breached duties of trust and confidence owed to

EOX customers other than Vaccaro that must be addressed on a case

by case basis at trial.

     Moreover, even if, as Defendants argue, all of EOX’s customers

knowingly agreed to dual representation, i.e., knowingly agreed

that Defendants would broker for others, undisputed evidence shows

that Gizienski did not merely broker for Vaccaro, but instead,

exercised discretionary authority over the Managed Account, which

not only allowed Gizienski to execute trades for AC Power without

speaking to Vaccaro about the specific trade, but also allowed

Gizienski to determine the quantity, price, and timing of the

trades that he made for AC Power.159      Undisputed evidence also shows

that neither EOX nor Gizienski disclosed to their other customers

that Gizienski exercised discretionary authority over the Managed

Account to execute trades for AC Power in the same markets that he

acted as a broker for their other customers,160 and that neither EOX


     159
       Plaintiff’s SOF, Docket Entry No. 152, pp. 8-9 ¶¶ 54, 58
(citing Gizienski Investigative Testimony, pp. 39:2-5, and 60:4-9,
Exhibit 5 to Plaintiff’s MSJ, Docket Entry No. 152-6, pp. 11 and
17; and Gizienski Deposition, pp. 102:20-104:2, 181:9-182:9),
Exhibit 6 to Plaintiff’s MSJ, Docket Entry No. 152-7, pp. 20-22,
25-26); Defendants’ Counter SOF, Docket Entry No. 168, pp. 26 and
29 ¶¶ 54, 58.
     160
       Plaintiff’s SOF, Docket Entry No. 152, pp. 8 ¶ 49 and 10
¶¶ 63-64 (citing inter alia Gizienski Investigative Testimony,
pp. 59:15-60:13, Exhibit 5 to Plaintiff’s MSJ, Docket Entry
No. 152-6, pp. 16-17); Defendants’ Counter SOF, Docket Entry No.
                                                  (continued...)

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nor Gizienski obtained consent from their other customers to

represent them in trades for which Gizienski took the opposite side

of their orders by exercising discretionary authority over the

Managed Account for AC Power.161          The evidence of Gizienski’s

undisclosed exercise of discretionary authority over the Managed

Account to trade against EOX’s other customers raises genuine

issues of material fact as to whether Defendants breached duties of

trust and confidence owed to EOX customers other than Vaccaro that

must be addressed on a case by case basis at trial.



           (c)   Plaintiff Fails to Establish that It is Entitled to
                 Summary Judgment on Count I

     Asserting that Gizienski misappropriated customer information

by tipping confidential customer information for his own personal

benefit, and by deliberately causing EOX customers to transact at

prices that were inferior to prices that he knew to be available in

the market,162 Plaintiff seeks summary judgment on the following

issues related to Count I:


     160
       (...continued)
168, pp. 19-21 ¶ 49.
     161
       Plaintiff’s SOF, Docket Entry No. 152, pp. 8 ¶ 50 and 10
¶¶ 62 and 65 (citing Defendant EOX Holding LLC’s Responses to
Plaintiff CFTC’s First Set of Requests for Admissions (“EOX’s
Responses to Plaintiff’s RFA”), Exhibit 27 to Plaintiff’s MSJ,
Docket Entry No. 152-28, p. 10 ¶ 37); Defendants’ Counter SOF,
Docket Entry No. 168, p. 22 ¶ 50.
     162
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, pp. 21-33.

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     !        Gizienski repeatedly misappropriated confidential
              customer order information and used it to his own
              benefit (and to his customers’ disadvantage), in
              violation of 7 U.S.C. § 9(1) and 17 C.F.R.
              § 180.1(a)(2).

     !        On at least 11 separate occasions Gizienski
              fraudulently caused his customers to trade at
              inferior prices, causing them to suffer damages, in
              order to obtain instant, riskless profits for a
              preferred customer, in violation of 7 U.S.C. § 9(1)
              and 17 C.F.R. § 180.1(a).

     !        Because Gizienski’s conduct occurred within the
              scope of his employment, office, or agency with
              Defendant EOX . . ., EOX is liable for each of the
              above-mentioned violations pursuant to 7 U.S.C.
              § 2(a)(1)(B) and 17 C.F.R. § 1.2.163

     Defendants argue that Plaintiff is not entitled to summary

judgment on Count I because they did not owe a duty of trust and

confidentiality to their customers, because Plaintiff’s inferior

price argument is wrong as a matter of fact and law, and because

there are issues of fact regarding scienter.164            For the reasons

stated in § IV.B.1(b)(1)-(2), the court has already concluded that

Defendants have failed to establish that they did not owe duties of

trust and confidence to EOX customers, and that Plaintiff has cited

evidence sufficient to raise fact issues for trial as to whether

Defendants      owed   duties   of   trust   and   confidentiality   to   EOX

customers, and, if so, whether Defendants breached those duties.




     163
           Plaintiff’s MSJ, Docket Entry No. 150, p. 1.
     164
       Defendants’ Opposition to Plaintiff’s MSJ, Docket Entry
No. 167-1, pp. 10-17.

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                        (1)     Whether Defendants Violated the CEA and
                                § 180.1 by Misappropriating Confidential
                                Information Raises Fact Issues for Trial

          Plaintiff argues that it is entitled to summary judgment that

Defendants           violated    the    §   6(c)(1)   of    CEA   and   §   180.1   by

misappropriating EOX customers’ confidential information in breach

of    a     pre-existing        duty   of   trust   and    confidentiality    because

undisputed evidence establishes that Gizienski (1) traded against

customers’ orders through the Managed Account and passed customer

information to Vaccaro, (2) that Gizienski cannot credibly deny

that he acted intentionally, and (3) that Gizienski acted for his

personal benefit.165            Plaintiff asserts that

          on multiple occasions Gizienski disclosed DTE’s order
          information to Vaccaro while Vaccaro was competing with
          DTE to trade on the same side of the same product. SOF
          ¶¶ 100, 102, 107, 108, 112-14, 117. On one particular
          occasion, Gizienski told Vaccaro that DTE had offered to
          sell certain put options at a particular price and that
          another customer was buying them. SOF ¶ 117. Vaccaro
          responded “start selling thing man,” which was an
          instruction from Vaccaro to sell those same options. SOF
          117. Gizienski admits that he did not disclose DTE’s
          trading activity for the purposes of executing a trade
          for DTE, but rather to provide “market color” to Vaccaro.
          SOF ¶ 118. Gizienski’s disclosure of DTE’s orders and
          trades clearly violated the DTE brokerage services
          agreement.166

Although Plaintiff treats all of its SOFs as undisputed, Defendants

deny and dispute each of the SOFs cited in the above quoted passage



          165
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, pp. 24-25.
          166
                Id. at 26.

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from Plaintiff’s brief.167 The cited SOFs refer to disclosures made

on different dates, and fail to provide any discernible evidentiary

support for Plaintiff’s assertions that the disclosures were made

while Vaccaro was competing with DTE to trade on the same side of

the same product.      And although Gizienski admitted that he has

testified that the disclosures made on one of these dates — April

30, 2014 — were made to give Vaccaro “market color,” he argues that

he also testified that

     I’m just giving him market color because you have to
     inform people, you know, when they’re an offer if people
     are joining that offer.      You relay that as a voice
     broker. You have company on your offer. You’re being
     joined. There’s now two sellers with you. It’s showing
     them the stack and how much volume is also joining,
     interest to sell the same level they are. May cause them
     to increase their — to sell better, to transact. It’s
     just — and I’m also doing the same thing for the other
     two guys, telling them — you know, they know they’re
     joining an offer. They’re not the first. So if someone
     was to come in and buy it, that they’d have to wait their
     turn or maybe we can, you know, split it up or figure out
     the best way to handle it.168

Moreover,   Defendants    cite   evidence   that,    if   believed,   could

establish that “[t]his transmission of information was part of

[their] services of providing market intelligence and market color


     167
       Defendants’ Counter SOF, Docket Entry No. 168, pp. 67-68
(SOF 100), p. 69 (¶ 102 referencing disclosures made on November 6,
2013), pp. 73-75 (¶¶ 107-108 referencing disclosures made on
December 9, 2013), pp. 78-81 (¶¶ 112-114 referencing, disclosures
made on February 10, 24, and 27 2014, respectively), and p. 83
(¶ 117 referencing disclosures made on April 30, 2014).
     168
       Id. at 84 (referencing SOF 118, and citing Gizienski
Investigative   Testimony,  pp.   132:19-133:10,  Exhibit 5 to
Plaintiff’s SOF, Docket Entry No. 152-6, pp. 26-27).

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to its customers, as permitted by the BSA with Geosol and custom

and practice in the industry.”169

     Plaintiff asserts similar arguments with respect to Geosol by

stating that

     EOX’s brokerage services agreement with Geosol stated
     that EOX shall not at any time disclose to anyone any
     information that EOX learned as a result of its brokerage
     activities for Geosol including its identity and the
     prices at which it had sold or wished to sell, provided
     that   nothing   prevented    EOX   “from   communicating
     information to potential Product(s) buyers or sellers
     which is necessary or appropriate to perform” brokerage
     services. SOF ¶ 122 (emphasis added). But again, on
     multiple occasions Gizienski disclosed Geosol’s order
     information to Vaccaro while Vaccaro was competing with
     Geosol to trade on the same side of the same product.
     SOF ¶¶ 104, 115.       On one occasion in particular,
     Gizienski told Vaccaro that Geosol was “covering” options
     and Vaccaro responded by instructing Gizienski to also
     cover options for his own account. SOF ¶ 115. Gizienski
     admits that he did not disclose Geosol’s identity and
     trade activity for the purpose of executing a trade for
     Geosol, but rather to provide “market color” to Vaccaro.
     SOF 118. Such disclosure obviously was not “necessary or
     appropriate” under the Geosol brokerage services
     agreement.170

Defendants     deny   and   dispute   Plaintiff’s   SOF   115   referencing

disclosures made on February 27, 2014, cited in the above quoted

passage from Plaintiff’s brief in support of its motion for summary

judgment,171 and Plaintiff again fails to provide any discernible


     169
       Id. (citing Rule 30(b)(6) Deposition of Javier Loya (“Loya
Rule 30(b)(6) Deposition”), pp. 201-204, Exhibit 3 to Defendants’
Counter SOF, Docket Entry No. 168-2, pp. 42-45).
     170
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 26.
     171
           Defendants’ Counter SOF, Docket Entry No. 168, pp. 81-82
                                                      (continued...)

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evidentiary support for its assertions that the disclosures were

made while Vaccaro was competing with Geosol to trade on the same

side of the same product. Although Defendants admit that Gizienski

did not disclose Geosol’s identity or trade activity for the

purpose of executing a trade for Geosol, but, instead, to provide

Vaccaro     “market   color,”172   Defendants   cite   evidence,   which     if

believed, is capable of establishing that these disclosures were

permitted pursuant to both to the BSA that EOX had with Geosol,173

and to custom and practice in the industry.174



                   (2)   Whether Defendants Violated the CEA and
                         § 180.1 by Causing EOX Customers to Trade at
                         Inferior Prices Raises Fact Issues for Trial

     Plaintiff argues that it is also entitled to summary judgment

that Defendants violated the CEA and § 180.1 by misappropriating

EOX customers’ confidential information in breach of a pre-existing

duty of trust and confidentiality because undisputed evidence

establishes that Gizienski




     171
       (...continued)
(SOF 115 referencing disclosures made on February 27, 2014).
     172
           Id. at 82-83 (SOF 116).
     173
           Id. at 86 (SOF 122).
     174
       Id. at 70-71 (SOF 104 but referencing disclosures made on
November 18, 2013), and p. 84 (SOF 118 (citing Gizienski
Investigative   Testimony,  pp.   132:19-133:10,  Exhibit  5  to
Plaintiff’s SOF, Docket Entry No. 152-6, pp. 26-27)).

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     deceptively caused] his customers to trade at inferior
     prices opposite Vaccaro in order to obtain instant,
     riskless profits for Vaccaro through the [Managed]
     Account. Gizienski did this by quoting prices that were
     inferior to the best price he knew to be available in the
     market (i.e., by quoting offers at prices higher than the
     lowest offer he knew to be available and/or quoting bids
     at prices lower than the highest bid he knew to be
     available.). Then, if a customer agreed to transact at
     the inferior price, Gizienski would use the [Managed]
     Trading Account to take a position at the superior market
     price and simultaneously trade with the EOX customer at
     the inferior price the customer had already agreed to,
     collecting the difference in profits.175

Plaintiff argues that

     [t]here are 11 separate documented instances in which
     Gizienski used the [Managed] Account to buy (or sell)
     from an EOX customer at one price and almost
     simultaneously exit the position by selling (or buying)
     that same product at a more favorable price. SOF ¶¶ 70-
     82. In each of those instances, Gizienski bought low and
     sold high to obtain an instant profit. Indeed, he had a
     100% success rate generating profits under this scheme.176

Plaintiff argues that “[w]hen done by market participants, this

process of searching for price discrepancies in the market to

attempt to buy a product and immediately re-sell it at a higher

price is called arbitrage.       When done by a broker to one of his

customers, though, it has another name: fraud.”177            Much of the



     175
       Plaintiff’s Memorandum in Support of MSJ, DE No. 151,
pp. 29-30.
     176
       Id. at 31. See also id. at 13 (citing Plaintiff’s SOF 70-82
and asserting that on at least 11 occasions, Gizienski executed
block trades opposite EOX customers at one price while almost
simultaneously exiting the position by trading on the IFUS screen
or in a block trade against another EOX customer at a better
price).
     177
           Id.

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evidence cited in support of this theory of liability comes from

two of the three trade data exhibits (Exs. 30 and 33 attached to

Plaintiff’s MSJ) referenced in the Dasso Declaration to which

Defendants object.178

      Assuming without deciding that the arbitrage method by which

Plaintiff alleges Gizienski misled his customers constitutes fraud,

Plaintiff is nevertheless not entitled to summary judgment on this

theory because the evidence that Plaintiff cites in support of this

theory does not show as a matter of law either that the timing of

the   transactions   occurred   as    Plaintiff    alleges,   or   that   the

transactions were done against Gizienski’s — or even EOX’s — own

customers.     Nor   is   the   evidence    on    which   Plaintiff   relies

necessarily admissible. Although “[a]t the summary judgment stage,

evidence need not be authenticated or otherwise presented in an

admissible form,”    Maurer, 870 F.3d at 384 (citing Fed. R. Civ. P.

56(c)), and need only be capable of being “presented in a form that

would be admissible in evidence,” id., in light of the court’s



      178
       Defendants’ Counter SOF, Docket Entry No. 168, p. 32
(asserting that “Exhibit 30, the spreadsheet of trades supposedly
from ICE is unauthenticated and unexplained, and if prepared by ICE
as part of its investigation, cannot be deemed a business record
since it was prepared solely for the purposes of litigation.”).
Defendants argue, and the court agrees, that “Exhibit 31, the
Declaration of Heather Dasso, does not supply that authentication.
[Dasso] is the CFTC Investigator assigned to this case, and this
Declaration does not establish that she has personal knowledge
sufficient to authenticate Exhibit 30.”).      See also id. at 40
(asserting that “[t]he spreadsheet identified as Exhibit 33 is
unauthenticated.”).

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conclusion           in    §   III.C,     that   the    Dasso   Declaration      should   be

stricken as an untimely disclosed expert report, whether the trade

data exhibits are capable of being admitted at trial remains to be

seen.         See Dizona, 594 F.3d at 416 & n. 6 (holding that CFTC

investigator was not a qualified witness pursuant to Federal Rule

of     Evidence           803(6)   able    to    lay    a   foundation     for   admitting

spreadsheets of disputed commodity trades because the investigator

was not able to explain the record keeping system and vouch that

the requirements of Rule 803(6) had been satisfied).



        2.          Count II

        Count II of Plaintiff’s Complaint alleges that

        [d]uring the relevant period, Gizienski violated 17
        C.F.R. § 155.4(b) by: (i) disclosing to Customer A the
        orders of other customers held by EOX or any of its
        affiliated persons, when such disclosures were not
        necessary to the effective execution of the customer
        orders; and (ii) knowingly taking the other side of
        customer orders revealed to EOX or any of its affiliated
        persons without the customers’ prior consent.179

Plaintiff also alleges that “[t]he foregoing acts, omissions, and

failures of Gizienski occurred within the scope of his employment,

office,         or     agency      with    EOX,”180     that    pursuant   to    7   U.S.C.

§ 2(a)(1)(B) and 17 C.F.R. § 1.2, EOX is liable for Gizienski’s

violations of 17 C.F.R. § 155.4(b),181 and that “[e]ach instance in



        179
              Plaintiff’s Complaint, Docket Entry No. 1, p. 18 ¶ 83.
        180
              Id. ¶ 84.
        181
              Id.

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which Gizienski unlawfully disclosed a customer order or traded

against an EOX customer without the customer’s consent is alleged

as a separate and distinct violation of 17 C.F.R. § 155.4(b).”182



              (a)   Applicable Law

     Section 155.4(b) provides, in relevant part:

     No introducing broker or any of its affiliated persons
     shall:

     (1)      Disclose that an order of another person is being
              held by the introducing broker or any of its
              affiliated persons, unless such disclosure is
              necessary to the effective execution of such order
              . . ., or

     (2)      (i) Knowingly take, directly or indirectly, the
              other side of any order of another person revealed
              to the introducing broker or any of its affiliated
              persons by reason of their relationship to such
              other person, except with such other person’s prior
              consent and in conformity with contract market
              rules approved by or certified to the Commission.

17 C.F.R. § 155.4(b).         Section 155.4(b) is intended to deter

practices such as “frontrunning,” “trading ahead,” “bucketing,” and

the improper disclosure of customer orders.           See Rules Relating to

Intermediaries of Commodity Interest Transactions [Action: Final

Rules], 66 Fed. Reg. 53510, 53513-14 (October 23, 2001).                   As a

registered     introducing   broker    and    affiliated   person,   EOX    and

Gizienski are subject to § 155.4.            See 17 C.F.R. 155.1 (“the term

affiliated person . . . of an introducing broker means . . .

associated person or employee . . . of the introducing broker”).

     182
           Id. ¶ 85.

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                 (b)   Defendants are Not Entitled to Summary Judgment on
                       Count II

        Defendants argue that they are entitled to summary judgment on

Count II for the same reasons they argue that they are entitled to

summary judgment on Count I,183 and for two additional reasons:

(1) Plaintiff has no evidence that Gizienski engaged in “front

running;” and (2) Plaintiff has no evidence that Gizienski took the

opposite side of his customer’s orders.             For the reasons stated in

§ IV.B.1(b) the court has already concluded that Defendants are not

entitled to summary judgment on Count I.               Defendants’ motion for

summary judgment on Count II therefore fails for the same reasons.



                       (1)    Defendants Are Not Being Sued for Front Running

        Asserting that frontrunning is “trading ahead of a customer,

entering a trade in one’s own account before an imminent trade by

that customer,”184 Defendants argue that Plaintiff “has no proof of

front running.          It never adduced such evidence from any customers

about the time sequence of the supposed disclosure and their own

trading, the linchpin a front running claim.                As a result, it has

no     evidence        of    front   running.”185   Plaintiff      responds   that

Defendants have not been charged with front running.186


        183
       Defendants’ Memorandum in Support of                  MSJ, Docket Entry
No. 179, pp. 20-23.
        184
              Id. at 23.
        185
              Id. at 24.
        186
              Plaintiff’s     Response   to   Defendants’   MSJ,    Docket Entry
                                                                   (continued...)

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                   (2)    Defendants Have Failed to Establish that They
                          Cannot Be Held Liable for Taking the Other
                          Side in Transactions with EOX Customers

     Asserting that they “respectfully persist in their argument

that as brokers with no interest in the account of AC Power

(Customer A),”187 Defendants argue that they “cannot be held liable

under Regulation 155.4(b) for taking the opposite side of the

transaction.”188         Asserting     that    this   is   an    issue    of   first

impression       that    has   grave    consequences       for   the     investment

community, especially the energy trading and brokerage segments,”189

and that they were acting as dual agents, Defendants argue that

     the law is clear that absent fraud, the knowledge of the
     dual agent and each of its principals is imputed to the
     other principal.    The Court [previously] declined to
     consider this argument and the Valji Declaration in part
     because it did not deal with the specific transactions
     involved in this case. That supposed omission has now
     been eliminated by discovery that proves that Defendants
     were dual agents, known to all traders and all
     counterparties, and their knowledge about all facts
     underlying the dual agency is to be imputed to each
     principal.190

Asserting that the Plaintiff’s “fraud theories of this case make no

sense,”191 Defendants argue that



     186
       (...continued)
No. 166, p. 15.
     187
       Defendants’ Memorandum in Support of                MSJ”), Docket Entry
No. 179, p. 24
     188
           Id.
     189
           Id.
     190
           Id.
     191
           Id. at 25.

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       [o]n the one hand, Count I and part of Count II allege
       fraud because of certain disclosures made to Jason
       Vaccaro, the trader for AC Power. On the other hand, the
       second part of Count II alleges fraud because Defendants
       did not disclose to Customers B-F the fact that Defendant
       Gizienski held discretionary trading authority over the
       AC Power account. This is a startling[ly] invalid Catch-
       22 assertion of government power, not supported by any
       prior precedent, and inimical to the custom and practices
       of the energy and energy trading community.192

Finally, Defendants argue that Plaintiff

       has admitted that it has no proof that anyone suffered
       any loss or other damage. While we may assume that this
       absence of proof is not fatal to the CFTC’s [case], this
       incontrovertible evidence circumstantially supports the
       conclusion that Defendants did nothing wrong. How can
       there be fraud if no one is defrauded?193

       Section 155.4(b)(2) states that no introducing broker, i.e.,

EOX, or any of its APs, i.e., Gizienski, shall “[k]nowingly take,

directly or indirectly, the other side of any order of another

person revealed to the introducing broker or any of its affiliated

persons by reason of their relationship to such other person,

except with such other person’s prior consent and in conformity

with    contract     market   rules   approved   by   or   certified   to   the

Commission.”        17 C.F.R. § 155.4(b)(2).      Defendants neither argue

nor offer any evidence capable of proving that Gizienski did not

execute discretionary trades against EOX customers without their

consent through the Managed Account.             For reasons stated in the

Memorandum Opinion and Order issued on September 9, 2019, the court


       192
             Id.
       193
             Id. at 26.

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has already rejected Defendants’ arguments that they had no duty to

keep customer order information confidential because they acted as

dual agents for EOX customers, and that § 155.4(b)(2) applies only

to principals.    See CFTC v. EOX Holdings LLC, 405 F.Supp.3d 697,

712-14 and 718 (S.D. Tex. 2019).            Defendants’ contention that the

completion of discovery has altered the basis of the court’s

reasoning on this issues is not persuasive because neither party

has addressed the specific transactions involved in this case in a

comprehensive or, frankly, coherent manner.                  Defendant’s argument

that Plaintiff’s       theory    of   fraud   makes     no    sense   and   imposes

inconsistent     requirements         on   brokers      that     threaten     grave

consequences     for     the     investment     community         are   similarly

unpersuasive because § 155.4(b) simply requires brokers to keep

customer orders confidential, and to obtain consent before trading

opposite a customer.      Because a broker can comply with § 155.4(b)

by disclosing that he or she is taking the opposite side of a

customer’s order without disclosing the counterparty’s identity or

other confidential order information, the court is not persuaded

that   §   155.4(b)     is      either     internally        inconsistent    or   a

“startling[ly] invalid Catch-22 assertion of government power.”

Accordingly, the court concludes that Defendants have failed to

establish that they are entitled to summary judgment on Count II.




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              (c)    Plaintiff is Not Entitled to Summary Judgment on
                     Count II

     Plaintiff seeks summary judgment in its favor on Count II with

respect the following issues:

     !        On at least 19 separate occasions Defendant Andrew
              Gizienski   .  .   .   disclosed   his   customers’
              confidential order information to a preferred
              customer without consent, in violation of 17 C.F.R.
              § 155.4(b)(1).

     !        On at least 107 separate occasions Gizienski took
              the other side of customer orders revealed to him
              in his capacity as a broker without consent, in
              violation of 17 C.F.R. § 155.4(b)(2).

                                    . . .

     !        Because Gizienski’s conduct occurred within the
              scope of his employment, office, or agency with
              Defendant EOX . . ., EOX is liable for each of the
              above-mentioned violations pursuant to 7 U.S.C.
              § 2(a)(1)(B) and 17 C.F.R. § 1.2.194

     Plaintiff argues that it is entitled to summary judgment on

Count    II   that    Defendants   violated   17   C.F.R.   §   155.4(b)   for

essentially the same reasons that Plaintiff argues that it is

entitled to summary judgment on Count I.195           For the same reasons

that the court has already concluded that Plaintiff is not entitled

to summary judgment on Count I, the court concludes that Plaintiff

is not entitled to summary judgment on Count II.                  Plaintiff,

without a trial, seeks a final award of unspecified damages and a

wide-ranging permanent injunction based on rather ill-defined and


     194
           Plaintiff’s MSJ, Docket Entry No. 150, p. 1.
     195
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, pp. 16-21.

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uncertain activities of Defendants.                The summary judgments that

Plaintiff seeks require extensive and detailed fact-finding with

respect to the range and scope of Defendants’ activities and

Gizienski’s state of mind with respect to each of the transactions

at     issue,      all    of   which   occurred    in   a   complicated    trading

environment. Resolution of Plaintiff’s claims necessarily requires

consideration of each transaction on a case-by-case basis at trial.



        3.       Count III

        Count III of Plaintiff’s Complaint alleges that

        [s]ince at least August 2013, EOX has violated 7 U.S.C.
        § 6g(a) and 17 C.F.R. §§ 1.31 and 1.35(a)(1) by:
        (i) failing to keep all pre-trade communications with
        customers; and (ii) failing to prepare and keep adequate
        written records of customer orders.196

Plaintiff also alleges that “[e]ach day that EOX failed to comply

with its record keeping obligations is alleged as a separate and

distinct violation of 17 C.F.R. §§ 1.31 and 1.35(a)(1)(iii) and

(b)(1)(2013).”197          Count III alleges that EOX violated its record

keeping obligations from the Relevant Period to the present by

(1) failing to prepare and maintain written order tickets; and

(2)     failing     to    maintain     certain    written   and   oral   pre-trade

communications.198


        196
              Plaintiff’s Complaint, Docket Entry No. 1, p. 20 ¶ 91.
        197
              Id. ¶ 92.
        198
              See Plaintiff’s Response to Defendants’ MSJ, Docket Entry
                                                         (continued...)

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           (a)   Applicable Law

     In pertinent part 7 U.S.C. § 6g(a) states that

     [e]very person registered hereunder as . . . [an]
     introducing broker . . . shall make such reports as are
     required by the Commission regarding the transactions and
     positions of each person, and the transactions and
     positions of the customer thereof, in commodities for
     future delivery on any board of trade in the United
     States or elsewhere . . .; shall keep books and records
     pertaining to such transactions and positions in such
     form and manner and for such period as may be required by
     the Commission; and shall keep such books and records
     open to inspection by any representative of the
     Commission or the United States Department of Justice.

7 U.S.C. § 6g(a).

     During the Relevant Period, 17 C.F.R. § 1.31(a)(1) stated that

     [a]ll books and records required to be kept by the Act or
     by these regulations shall be kept in their original form
     (for paper records) or native file format (for electronic
     records) for a period of five years from the date thereof
     and shall be readily accessible during the first 2 years
     of the 5-year period. . . Records of oral communications
     kept pursuant to §§ 1.35(a) . . . of this chapter shall
     be kept for a period of one year. All such books and
     records shall be open to inspection by any representative
     of the Commission, or the United States Department of
     Justice.    For purposes of this section, native file
     format means an electronic file that exists in the format
     in which it was original created.

17 C.F.R. § 1.31(a)(1)(2012).199

     In pertinent part the version of         17 C.F.R. § 1.35(a)(1) in

effect during the Relevant Period stated that


     198
       (...continued)
No. 166, p. 21.
     199
       See 77 Fed. Reg. 75523, 75541 (December 21, 2012), Exhibit
5 to Plaintiff’s Response to Defendants’ MSJ, Docket Entry No. 166-
5, p. 20.

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     Each . . . introducing broker . . . shall keep full,
     complete, and systematic records, which include all
     pertinent data and memoranda, of all transactions
     relating to its business of dealing in commodity
     interests and related cash or forward transactions.
     Included among such records shall be all orders (filled,
     unfilled, or canceled), . . . copies of confirmations,
     copies of statements of purchase and sale, and all other
     records, which have been prepared in the course of its
     business of dealing in commodity interests and related
     cash or forward transactions. . . Also included among
     the records required to be kept by this paragraph are all
     oral and written communications provided or received
     concerning    quotes,   solicitations,    bids,   offers,
     instructions, trading, and prices that lead to the
     execution of a transaction in a commodity interest and
     related    cash   or   forward   transactions,    whether
     communicated by telephone, voicemail, facsimile, instant
     messaging, chat rooms, electronic mail, mobile device, or
     other digital or electronic media; Provided, however, the
     requirement in this paragraph (a)(1) to record oral
     communications shall not apply to:

                                   . . .

     (iii)         An introducing broker that has generated over
                   the preceding three years $5 million or less
                   in   aggregate   gross  revenues   from   its
                   activities as an introducing broker; . . .

17 C.F.R. 1.35(a)(2013).200     Section 1.35(b)(1) stated that

     (b)     [I]ntroducing   brokers       .   .   .:   Recording   of
             customers’ orders.

             (1)   . . . [E]ach introducing broker . . .
                   receiving a customer’s order that cannot
                   immediately be entered into a trade matching
                   engine shall immediately upon receipt thereof
                   prepare a written record of the order
                   including the account identification, except
                   as provided in paragraph (b)(5) of this
                   section, and order number, and shall record
                   thereon, by timestamp or other timing device,


     200
       Id. at 75541-42, Exhibit 5 to Plaintiff’s Response to
Defendants’ MSJ, Docket Entry No. 166-5, pp. 20-21.

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                     the date and time, to the       nearest minute,      the
                     order is received, and           in addition,        for
                     commodity option orders,         the time, to        the
                     nearest minute, the order        is transmitted      for
                     execution.

17 C.F.R. 1.35(b)(2013).201



              (b)    Defendants Are Entitled to Partial Summary Judgment
                     on Count III

     Defendants argue that they are entitled to partial summary

judgment     on     Count   III   because    (1)   compliance    with     the    oral

recording keeping mandated by § 1.35(a) was not required until the

compliance date of December 21, 2013; and (2) EOX was exempt from

satisfying § 1.35(a)’s record keeping requirements for 2013 and

2014 because its gross revenues for the three years preceding both

January 1, 2013, and January 1, 2014, were less than five million

dollars.202



                     (1)    Defendants Are Entitled to Summary Judgment
                            that EOX was Not Required to Comply with the
                            Oral   Record  Keeping   Mandate  until  the
                            Compliance Date of December 21, 2013

     EOX argues that it was not required to comply with the oral

record keeping        mandate     during    2013   and   2014   because    “by    the

explicit terms of the Federal Register release adopting the oral



     201
           See 77 Fed. Reg. 66288, 66325 (November 2, 2012).
     202
       Defendants’ Memorandum in Support of MSJ, Docket Entry
No. 179, p. 27.

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recording mandate, compliance was not required until December 21,

2013.      77 FR 75524 (Dec. 21, 2012).”203

     Plaintiff responds that

     [i]t   is  undisputed   that   Regulation   1.35’s  oral
     communications record keeping requirement went into
     effect on February 19, 2013 — six months before the
     beginning of the Relevant Period. 76 Fed. Reg. 75523 at
     75524 (Ex. 5) (listing effective date of February 19,
     2013).     It is also undisputed that the Regulation
     directed affected entities to be in full compliance with
     the Regulation by December 21, 2013.      Id. (listing a
     compliance date of December 21, 2013). EOX argues that
     it was not required to abide by the Regulation’s
     effective date and was only required to maintain oral
     communications after December 21, 2013. EOX’s argument
     must fail because it would render meaningless the
     Regulation’s effective date of February 19, 2013. . . .

          The separate dates for effectiveness and compliance
     in the Regulation provide a “safe harbor” for market
     participants who could not comply by the effective date.
     So long as market participants complied by the later
     compliance date, they would not be penalized for failing
     to meet the earlier effective date.      But if a market
     participant failed to comply even by the later compliance
     date, it would be liable for the entire period that the
     regulation was in effect.204

Asserting that “[i]t is undisputed that EOX failed to come into

compliance       with   the   Regulation    before   December   21,   2013,”205

Plaintiff argues that “EOX’s violations of the Regulation date back

to the effective date.”206


     203
       Id. See also Defendants’ Reply in Support of MSJ, Docket
Entry No. 174, p. 21.
     204
       Plaintiff’s       Response   to     Defendants’   MSJ,   Docket   Entry
No. 166, p. 25.
     205
       Id. (citing Exhibit 67 to Plaintiff’s MSJ, Docket Entry
No. 152-68, Tabs 2, 13, 19-22).
     206
           Id.

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     Missing from Plaintiff’s briefing is a cite to any authority

in support of its argument that EOX can be held liable for failing

to comply with the recording keeping requirements pertaining to

oral communications imposed by 17 C.F.R. § 1.35(a) before the

stated compliance date.       Moreover, neither the regulation nor the

Federal Register entry states that regulated entities failing to

comply by the compliance date could be held liable from the

effective date. Plaintiff’s contention that Defendants can be held

liable for    failing    to   comply   with   the   regulation   before   the

expressly stated compliance date contradicts the plain language of

the regulation.    The court concludes therefore that Defendants are

entitled to summary judgment that EOX was not required to comply

with the oral record keeping mandate until the compliance date of

December 21, 2013.      See Chevron, U.S.A., Inc. v. Natural Resources

Defense Council, Inc., 104 S.Ct. 2778, 2781-83 (1984).             See also

Silverman v. Eastrich Multiple Investor Fund, L.P., 51 F.3d 28, 31

(3d Cir. 1995) (recognizing that effective and compliance dates

have distinct meanings by stating that “[t]he mandatory compliance

date should not be misconstrued as the effective date of the

revisions”); Natural Resources Defense Council, Inc. v. United

States Environmental Protection Agency, 683 F.2d 752, 761-62 (3d

Cir. 1982) (“In general, an effective date is ‘part of an agency

statement of general or particular applicability and of future

effect.’ It is an essential part of any rule: without an effective


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date, the ‘agency statement’ could have no ‘future effect,’ and

could not serve to ‘implement, interpret, or prescribe law or

policy.’         In short, without an effective date a rule would be a

nullity because it would never require adherence.”).



                     (2)     Defendants Are Not Entitled to Summary
                             Judgment that EOX’s Gross Revenues Exempted It
                             from the Record Keeping Mandate

     EOX         argues    that   it   was    not    required    to    record      oral

communications during 2013 and 2014 because “the gross revenue of

EOX for the three years preceding 2013 & 2014 fell below the $5

Million threshold, thus exempting EOX from the oral recording

requirement for those two years.”207              As evidence that it was exempt

from the recording requirement for 2013 and 2014, EOX asserts that

“in July 2014, EOX was audited by the National Futures Association

(NFA) which determined that EOX was exempt from the recording

requirement.”208          Asserting that the “NFA is the futures industry’s

self-regulatory           organization,      so   designated    by    the   CFTC    and

authorized to monitor and regulate industry participants’ financial

affairs,”209 Defendants cite financial records that EOX filed with



     207
       Defendants’ Memorandum in Support of   MSJ, Docket Entry
No. 179, p. 27.   See also Defendants’ Reply in Support of MSJ,
Docket Entry No. 174, pp. 20-21.
     208
       Defendants’ Memorandum in Support of                     MSJ, Docket Entry
No. 179, p. 28.
     209
           Id.

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the NFA,210 and argue that “[p]ursuant to Regulation 1.12(n), 17

C.F.R. 1.12(n), these reports are ‘deemed for all purposes filed

with, and to be the official record of, the [CFTC].”211

     Plaintiff responds that “[t]o make this argument, EOX conceals

from the Court — much as it did from the [NFA] — the brokerage

revenues earned by affiliates who use EOX’s IB registration.”212

Citing Stipulations executed by counsel for the parties to this

action, Plaintiff argues that “it is undisputed that Affiliate

revenue      exceeds     the   five-million-dollar      threshold.”213    The

Stipulations state that

     1.          The entities that brokered investments through the
                 Introducing Broker registration at NFA of EOX
                 Holdings LLC generated, in total, more than $5
                 million in aggregate gross revenues from their
                 activities as an introducing broker between January
                 1, 2010 and December 31, 2012.

     2.          The entities that brokered investments through the
                 Introducing Broker registration at NFA of EOX
                 Holdings LLC generated, in total, more than $5
                 million in aggregate gross revenues from their
                 activities as an introducing broker between January
                 1, 2011 and December 31, 2013.214


     210
       Id. (citing Loya Declaration, ¶ 14, Exhibit 1 to Defendants’
MSJ, Docket Entry No. 160-2, p. 5; and Copies of Financial Reports
known as “1-FR-IBs” that EOX filed with the NFA, Exhibits 20-22,
Docket Entry No. 160-2, pp. 254-86).
     211
           Id.
     212
       Plaintiff’s        Response   to   Defendants’    MSJ,   Docket   Entry
No. 166, p. 21.
     213
           ID. at 24.
     214
           Stipulations, Exhibit 65 to Plaintiff’s MSJ, Docket Entry
                                                      (continued...)

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     Because undisputed evidence establishes that for each of the

three year periods preceding January 1, 2013, and January 1, 2014,

the gross revenues for entities that brokered investments through

EOX’s IB registration at NFA exceeded five million dollars, the

court concludes that EOX is not entitled to summary judgment that

its was exempted from § 1.35(a)’s record keeping requirements

pursuant to § 1.35(a)(1)(iii), which exempted an “[a]n introducing

broker that has generated over the preceding three years $5 million

or less in aggregate gross revenues from its activities as an

introducing broker.”     17 C.F.R. § 1.35(a)(1)(iii).       The fact that

the NFA concluded that EOX was exempt from §1.35(a)’s record

keeping requirements does not preclude the court from reaching a

contrary conclusion.



           (c)   Plaintiff is Not Entitled to Summary Judgment on
                 Count III

     Asserting that “the undisputed facts establish that EOX failed

to prepare and maintain (1) written order tickets and (2) certain

pre-trade communications (from 2013 to the present) in violation of

the Act and its Regulations,”215 Plaintiff seeks summary judgment on

the following issues related to Count III:



     214
       (...continued)
No. 152-66, p. 2.
     215
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 40.

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     !        EOX failed to maintain written order tickets of
              customer trades, in violation of 7 U.S.C. § 6g(a)
              and 17 C.F.R. § 1.35(b)(1);

     !        EOX   failed    to    maintain   certain   pre-trade
              communications,    in    violation  of   17   C.F.R.
              § 1.35(a)(1); and

     !        EOX failed to maintain pre-trade communications
              that occurred via mobile phone in, violation of 17
              C.F.R. § 1.35(a)(1).216



                   (1)   Plaintiff Is Not Entitled to Summary Judgment
                         that EOX Failed to Prepare and Maintain
                         Written Order Tickets of Customer Trades

     Asserting that as an IB, EOX is “required to prepare and

maintain order tickets or other written records of orders that it

receives from customers,”217 and that “EOX is required to comply

with 17 C.F.R. § 1.35(b)(1),”218 Plaintiff argues that “[t]here is

no genuine issue of material fact: EOX does not have the order

tickets required by the Act and its Regulations for the Relevant

Period,”219 and “EOX admitted that after making ‘reasonable inquiry’

it simply does not know whether it prepared the required written




     216
           Plaintiff’s MSJ, Docket Entry No. 150, p. 2.
     217
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 41.
     218
       Id. (citing Plaintiff’s SOF 162, Docket Entry No. 152,
p. 31).
     219
       Id. (citing Plaintiff’s SOF 163, Docket Entry No. 152,
p. 31).

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customer orders from the Relevant Period.”220              Asserting that

“[e]ven more troubling, EOX admitted that it also does not know if

it has prepared and maintained written order tickets from the

Relevant Period to the present,”221 and that “EOX was not able to

produce to the Commission for inspection upon request written order

tickets that comply with Section 1.35(b)(1)’s requirements,”222

Plaintiff argues that “EOX violated the Regulation and this Court

should grant judgment on Count III of the Complaint.”223

      Although Defendants admit that as an IB, EOX is required to

comply with 17 C.F.R. § 1.35(b)(1),224 Plaintiff treats all of its

SOFs as undisputed even though Defendants deny and dispute all but

one of the SOFs that Plaintiff cites in support of its argument

that it is entitled to summary judgment that EOX failed to prepare

and   maintain      written   order     tickets   of   customer   trades.225

Defendants dispute Plaintiff’s argument by asserting that the

Plaintiff’s SOFs are not supported by the materials that Plaintiff


      220
       Id. (citing Plaintiff’s SOF 164, Docket Entry No. 152,
p. 31).
      221
       Id. at 41-42 (citing Plaintiff’s SOF 165, Docket Entry
No. 152, p. 31).
      222
       Id. at 42 (citing Plaintiff’s SOF 166, Docket Entry No. 152,
p. 31).
      223
            Id.
      224
            Defendants’ Counter SOF 162, Docket Entry No. 168, p. 105.
      225
       Id. at p. 99 (SOF 163), pp. 99-100 (SOF 164), pp. 100-01
(SOF 165), p. 101 (SOF 166).

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cites, and that      “[a]ll transactions at issue in this case were

immediately entered into the ICE Block trade matching engine . . .

[t]herefore, no other written records were required.”226

     Asserting that § 1.35(b)(1) has never said anything about

written order tickets, Defendants argue that written records have

only been required for orders “that cannot immediately be entered

into a trade matching engine.”227         Citing the Supplemental Loya

Declaration, Defendants argue that

     [b]y the time Dodd-Frank and the CFTC brought block
     trading into exchange clearing, written trade tickets
     were obsolete or almost so, except for the smallest and
     least sophisticated traders. By August 2013, all EOX-
     brokered block trades were and always since have been
     immediately entered into ICE Block, the ICE exchange and
     clearing system.228

In light of Loya’s testimony that “[a]ll block trades in this case

were and always have been immediately entered into BlockICE, the

ICE trade matching engine,” the court concludes that whether EOX’s

lack of written records for orders received during the Relevant

Period constitutes a violation of 17 C.F.R. § 1.35(b) is a fact

issue for trial.



     226
       Defendants’ Opposition to Plaintiff’s MSJ, Docket Entry
No. 167-1, p. 25.
     227
           Id. (citing 17 C.F.R. § 1.35(b)(1)).
     228
       Id. at 25 (citing Loya Supplemental Declaration, Exhibit 1
to Defendants’ Counter SOF, Docket Entry No. 168-2, p. 5 ¶ 17 (“.
. . All block trades in this case were and always have been
immediately entered into BlockICE, the ICE trade matching
engine.”).

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                (2)   Plaintiff Is Not Entitled to Summary Judgment
                      that EOX Failed to Maintain Certain Pre-Trade
                      Communications from 2013 to the Present

     Asserting that “[i]t is undisputed that EOX failed to keep all

required pre-trade communications during the Relevant Period,”229

Plaintiff argues that

     [i]n particular, (1) EOX failed to prepare and maintain
     at least thirteen pre-trade communications for trades
     executed out of the [Managed] Account, and (2) EOX
     brokers conducted broker business over their mobile
     telephones and those records were not maintained.230


                      (i)   Managed Account Pre-Trade Communications

     Asserting that “[a]t the request of IFUS, EOX created a

spreadsheet identifying, among other things, the available pre-

trade   communications   for   123   of   Gizienski’s   trades   from   the

[Managed] Account,”231    Plaintiff argues that

     [b]y   EOX’s   own  analysis,   it   has   no   pre-trade
     communications for at least one side of the transaction
     for four trades, SOF ¶ 174, and it has no pre-trade
     communications for both sides of the transaction for
     three trades[,] SOF ¶ 175, and for six other trades, EOX
     provided instant message conversations that purport to be
     the pre-trade communications, but the relevant portion of
     the communications — the customer’s actual order
     including any negotiations on price — is absent. SOF
     ¶ 176. Of course, these 13 instances of missing pre-

     229
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 43 (citing Plaintiff’s SOF, Docket Entry No. 152, p. 32
¶ 169 (citing Request for Admissions, No. 3, Exhibit 27, Docket
Entry No. 152-28, p. 3; and Amended Request for Admissions, No. 1,
Exhibit 66, Docket Entry No. 152-67, p. 1)).
     230
       Id. (citing Plaintiff’s SOF, Docket Entry No. 152, p. 32
¶ 172).
     231
       Id. (citing Plaintiff’s SOF, Docket Entry No. 152, p. 32
¶ 173).

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       trade communications represent only a subset of trades
       for one broker over an eight-month period of time. SOF
       ¶ 177.    Of the 123 trades analyzed, 13 (10.6%) are
       missing pre-trade communications. It is likely that EOX
       failed to maintain pre-trade communications at a similar
       rate for the thousands of other trades it brokered.232

       Although Plaintiff treats all of its SOFs as undisputed,

Defendants deny and dispute each of the SOFs cited in the above

quoted        passage    from        Plaintiff’s        brief,    in    part     because   the

spreadsheet(s)           on        which     Plaintiff     relies,      i.e.,    Plaintiff’s

Exhibits        67-69,        do     not     include     any   reference        to   pre-trade

communications.233 Although EOX admits that at the request of IFUS,

it created a spreadsheet identifying, among other things, the

available pre-trade communications for 123 of Gizeinski’s trades

from    the      Managed       Account,234       Plaintiff       fails    to     provide   any

discernible evidentiary support for its contention that Exhibits

67-69 cited in its SOFs 174-177 actually show that EOX failed to

prepare and maintain at least thirteen pre-trade communications for

trades executed out of the Managed Account.                            Moreover, since for

the reasons        stated           in   §   IV.B.3(b)(1),       the   court     has   already

concluded that EOX is entitled to summary judgment that it was not



       232
             Id. at 43-44.
       233
       Defendants’ Counter SOF, Docket Entry No. 168, p. 105 (SOF
174), p. 106 (¶ 175), pp. 106-07 (¶¶ 176-77). See also Exhibits
67-69 to Plaintiff’s SOF, Docket Entry Nos. 152-68, 152-69, 152-
70).
       234
             Defendants’ Counter SOF, Docket Entry No. 168, p. 105 (SOF
173).

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required to maintain recordings of oral pre-trade communications

until the compliance date of December 21, 2013, EOX cannot be held

liable for failing to record oral pre-trade communications for

transactions that occurred before December 21, 2013.



                (ii) Mobile     Telephone    Pre-Trade     Communications

     Asserting it is undisputed that during the Relevant Period,

EOX brokers used their mobile telephones to broker trades, that EOX

did not capture pre-trade communications that occurred when brokers

used their mobile telephones, and that EOX did not have any policy

regarding brokers’ use of mobile telephones, Plaintiff argues that

“[t]his Court should grant summary judgment on Count III of the

Complaint because EOX failed to maintain written order tickets and

pre-trade communications during and after the Relevant Period.”235

Defendants admit that during the Relevant Period EOX brokers used

their mobile telephones to broker trades, and that EOX did not

capture pre-trade communications that occurred when brokers used

their mobile telephones, but argue that EOX was not required to

make or maintain recordings of oral pre-trade communications until

December 21, 2013, and was exempt from the requirement for 2013 and

2014 because its revenue fell below the required threshold for




     235
       Plaintiff’s Memorandum in Support of MSJ, Docket Entry
No. 151, p. 44 (citing Plaintiff’s SOF, Docket Entry No. 152, p. 33
¶¶ 178-80).

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capturing   such   communications.236     For   the   reasons   stated   in

§ IV.B.3(b), the court has already concluded that Defendants are

entitled to summary judgment that EOX was not required to make or

maintain recordings of oral pre-trade communications before the

compliance date of December 21, 2013, but that EOX was not exempt

from doing so after that date because the parties have stipulated

that the entities that brokered investments through the EOX’s IB

registration at NFA generated more than five million dollars in

aggregate gross revenues for the three-year periods preceding

January 1, 2013, and January 1, 2014.       Nevertheless, Plaintiff has

failed to establish that it is entitled to summary judgment on

Count III because Plaintiff has failed to identify any trades that

Gizienski — or any other EOX AP — brokered by mobile phone for the

part of the Relevant Period after the December 21, 2013, compliance

date, i.e., from December 21, 2013, to May 2014.



     4.     Count IV

     Count IV of Plaintiff’s Complaint alleges that

     EOX violated 17 C.F.R. § 166.3 by, among other things:
     (i) failing to establish, implement, and enforce policies
     or procedures to detect or prevent Gizienski’s misuse of
     confidential customer information; (ii) failing to review
     Gizienski’s discretionary trading, his communications
     with Customer A, or the brokerage services he provided to
     Customer A; and (iii) failing to establish, implement, or
     enforce policies or procedures governing its brokers’


     236
       Defendants’ Counter SOF, Docket Entry No. 168, pp. 107-08
(SOF 178-80).

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     handling of customer orders, the preparation and
     retention of required records, and the protection of
     confidential customer information.237

Plaintiff also alleges that

     [t]he forgoing acts, omissions, and failures of EOX
     employees and principals relating to insufficient
     supervision   occurred  within   the  scope   of  their
     employment, office, or agency with EOX.      Therefore,
     pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2,
     EOX is liable for the acts, omissions, and failures
     constituting violations of 17 C.F.R. § 166.3,238

and that “[e]ach failure to supervise, including, but not limited

to, those specifically alleged herein, is alleged as a separate and

distinct violation of 17 C.F.R. § 166.3.”239



              (a)   Applicable Law

     In pertinent part the version of        17 C.F.R. § 166.3 in effect

during the Relevant Period stated that

     [e]ach Commission registrant, except an associated person
     who has no supervisory duties, must diligently supervise
     the handling by its partners, officers, employees and
     agents (or persons occupying a similar status or
     performing a similar function) of all commodity interest
     accounts carried, operated, advised or introduced by the
     registrant and all other activities of its partners,
     officers, employees and agents (or persons occupying
     similar status or performing a similar function) relating
     to its business as a Commission registrant.




     237
           Plaintiff’s Complaint, Docket Entry No. 1, p. 20 ¶ 95.
     238
           Id. at 20-21 ¶ 96.
     239
           Id. at 21 ¶ 97.

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17 C.F.R. § 166.3.240    Regulation 166.3 imposes on registrants like

EOX “a duty to develop procedures for the ‘detection and deterrence

of possible wrongdoing by its agents.’”       Commodity Futures Trading

Commission v. Trinity Financial Group, Inc., No. 92-6832-CIV, 1997

WL 820970, at *29 (S.D. Fla. Sept. 29, 1997), aff’d in relevant

part, vacated in part sub nom. Commodity Futures Trading Commission

v. Sidoti, 178 F.3d 1132, 1137 (11th Cir. 1999).          In evaluating a

claim for failure to supervise courts first determine whether there

was a program of supervision designed to detect violations; and

secondly,    whether    the   relevant   policies   and   procedures   were

followed.    See Commodity Futures Trading Commission v. Carnegie

Trading Group, Ltd., 450 F. Supp. 2d 788, 805 (N.D. Ohio 2006).

See also Crothers v. Commodity Futures Trading Commission, 33 F.3d

405, 411 (4th Cir. 1994) (failure to adhere to internal policies

supports a finding of liability under § 166.3).



            (b)   Defendants are Not Entitled        to   Partial   Summary
                  Judgment on Count IV

     Defendants argue that they are entitled to partial summary

judgment on Count IV because Plaintiff’s allegations are “wildly

incorrect.    EOX has had detailed procedures in place [since] soon

after Dodd-Frank ‘futurized’ block trading in late 2012. . .


     240
       Rule 166.3 was part of a series of rules and rule changes
promulgated by the CFTC in 1977 which were “designed to protect, in
various respects, members of the public who deal with commodity
trading professionals.” 42 Fed. Reg. 44,742 (CFTC 1977).

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Summary judgment should be granted on that part of Count IV.”241         In

support of this argument, EOX cites the Loya Declaration, a 2013

Compliance Manual, and the Declaration of Sneha Bagri, Chief

Compliance Officer of OTC Global Holdings LP (OTC), parent company

of EOX Holdings LLC and compliance documents attached thereto.242

     Plaintiff responds that EOX’s motion for summary judgment on

Count IV should be denied because Defendants fail to address any of

the Complaint’s allegations regarding EOX’s failure to supervise

Gizienski during the Relevant Period,243 because EOX admits that it

did not maintain records pursuant to its own policies during the

Relevant Period,244 and because, after conducting a “reasonable




     241
       Defendants’ Memorandum in Support of           MSJ, Docket Entry
No. 179, p. 29.
     242
       Id. at 17-18 (citing Loya Declaration, ¶¶ 16-17, Exhibit 1,
Docket Entry No. 160-2, p. 5; EOX Holdings LLC Procedures Manual,
Exhibit 24 to Defendants’ MSJ, Docket Entry No. 160-2, pp. 293-99;
Declaration of Sneha Bagri Agarwal, Exhibit 25 to Defendants’ MSJ,
Docket Entry No. 160-2, pp. 301-02 and Exhibits 1-3 attached
thereto).
     243
       Plaintiff’s    Response   to   Defendants’    MSJ,   Docket   Entry
No. 166, p. 26.
     244
       Id. n. 12 (citing Defendant EOX Holding LLC’s Responses to
Plaintiff CFTC’s First Set of Requests for Admissions, No. 7,
Exhibit 27 to Plaintiff’s SOF, Docket Entry No. 152-28, p. 4
(“Admit that EOX does not have all books and records required to be
kept by the Act and its Regulations for the Relevant Period.
Defendant’s Response: Admitted, subject to the qualification that
EOX has made reasonable inquiry and the information it knows or can
readily obtain is insufficient to enable it to identify or quantify
the books and records that were not retained.”).

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inquiry,” EOX does not know if it is following its own policy to

maintain records in accordance with the Act and Regulations.245

     Asserting   that   “the   supposed   failure   to   follow   internal

compliance procedures is not a violation of the [CEA] whatever the

period,”246 Defendants reply that

     the only factual dispute left on Count IV is a very
     narrow one: Did EOX’s Houston Office Branch Manager Mike
     Nemer review the trading in the discretionary [i.e.,
     Managed] account. His testimony is all over the block on
     that. He testified in deposition that he did not, but
     also admitted that he had told EOX’s outside compliance
     auditor the precise opposite that he did review the
     trading on a daily basis.247

Defendants also reply that “Plaintiff offers no proof whatsoever to

contradict EOX’s evidence about its robust compliance procedures

from before and after February 2015 when it hired Sneha Bagri as

its new Vice President of Compliance.”248

     Although EOX contends that it has had robust compliance and

supervision policies and procedures in place since 2013, EOX’s

admissions that it is unable to produce requested records raises

fact issues regarding the nature and extent of its compliance with

     245
       Id. (citing EOX Holding LLC’s Responses to Plaintiff CFTC’s
First Set of Requests for Admissions, Nos. 4 and 6, Exhibit 27 to
Plaintiff’s SOF, Docket Entry No. 152-28, pp. 3-4).
     246
       Defendants’ Reply in Support of Their MSJ, Docket Entry
No. 174, p. 22.
     247
       Id. at (citing Defendants’ Counter SOFs ¶ 40, 47, 150, 161,
Docket Entry No. 168, pp. 14-15 (¶ 40), 18-19 (¶ 47), 95-96 (¶ 150)
and 112 (¶ 161)).
     248
       Id. (citing Defendants’ Memorandum in Support of Their
Motion for Summary Judgment on Counts I & II, and for Partial
Summary Judgment on Counts III & IV, Docket Entry No. 160, pp. 17-
18).

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the record keeping requirements imposed on registrants.          Moreover,

since,      Defendants   acknowledge   the   existence   of   fact   issues

pertaining to whether EOX diligently supervised Gizienski, the

court concludes that Defendants have failed to establish that they

are entitled to partial summary judgment on Count IV.



              (c)   Plaintiff is Not Entitled to Summary Judgment on
                    Count IV

     Asserting that EOX had no compliance structure, EOX failed to

follow its own policies and procedures, and failed to perform its

supervisory duties diligently, Plaintiff seeks summary judgment on

the following issues related to Count IV:

     !        EOX   failed  to   maintain   adequate   compliance
              infrastructure, in violation of 17 C.F.R. § 1.66.3;

     !        EOX failed to follow policies and procedures that
              it did have in place, in violation of 17 C.F.R.
              § 1.66.3; [and]

     !        EOX failed to diligently supervise Gizienski’s
              discretionary trading on behalf of the preferred
              customer, leading to Gizienski’s misconduct, in
              violation of 17 C.F.R. § 166.3.249

     Defendants respond that Plaintiff is not entitled to summary

judgment on Count IV because their

     evidence is that they had robust internal procedures
     during the Relevant Period that were enforced and applied
     by an extremely experienced and knowledgeable broker
     force including Mr. Gizienski that was trained on the
     trading desk on an on-the-job basis.          Defendants’
     evidence is that there was nothing wrong with
     Mr. Gizienski’s work on the discretionary account which
     he did under narrow parameters imposed by Vaccaro, and
     subject to the daily review by Mike Nemer, EOX’s Houston


     249
           Plaintiff’s MSJ, Docket Entry No. 150, p. 2.

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     Office Branch Manager, who was the EOX officer who set up
     the account in consultation with the compliance and
     administrative personnel of ICE and the two FCMs (FC
     Stone & BAM).250

Defendants also argue that

     [t]here is ample evidence that Mr. Gizienski’s brokering
     in the discretionary account was monitored daily by the
     Branch Manager Nemer and that when a complaint about the
     account was made, the highest management of EOX
     intervened   and   determined   that   there    were  no
     irregularities, causing the person who raised the
     complaint to withdraw it and apologize. There was no
     need to monitor Mr. Gizienski’s IMs or calls with any
     customer, because there was nothing wrong with them. All
     this was confirmed by the repeated NFA audits that never
     raised any issues with those accounts or the supervision
     and compliance procedures.251

     Plaintiff argues that it is entitled to summary judgment on

Count   IV   because   EOX   failed    to     maintain   adequate   compliance

infrastructure, EOX failed to follow policies and procedures that

it did have in place, and EOX failed to diligently supervise

Gizienski’s    discretionary     trading       on   behalf   of   the   favored

customer, i.e., Vaccaro. But Defendants have attached to their MSJ

EOX Holdings LLC 2013 Procedures Manual,252 and Defendants have

presented at least some evidence that Mike Nemer, the Branch


     250
       Defendants’ Reply in Support of Their MSJ, Docket Entry
No. 174, p. 27 (citing Defendants’ Responses to Plaintiff’s SOFs
39-42, 45-48, 63, 128, 148-52, 157-58, 161, Docket Entry No. 168,
pp. 14-16 (SOF 39-42), 17-19 (SOF 45-48), 33-34 (SOF 63), 89 (SOF
128), 94-96 (SOF 148-52), 97 (SOF 157-58), 98 (SOF 161)).
     251
       Id. at 28 (citing Defendants’ Responses to Plaintiff’s SOF
46, Docket Entry No. 168, pp. 17-18).
     252
       Exhibit 24 to Defendants’ MSJ, Docket Entry No. 160-2,
pp. 293-99.

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Manager of EOX’s Houston office was responsible for and did, in

fact,      monitor   Gizienski’s   trading   in   the   Managed   Account.253

Whether EOX violated § 166.3 by failing to establish, implement, or

enforce policies or procedures to detect or prevent misuse of

confidential customer information, failing to review Gizienski’s

discretionary trading, or failing to establish, implement, or

enforce policies or procedures governing its brokers’ handling of

customer orders, the preparation and retention of required records,

and the protection of confidential customer information raise fact

issues for trial.      Because Plaintiff has failed to cite undisputed

evidence establishing that it is entitled to judgment as a matter

of law that EOX violated 17 C.F.R. § 166.3, Plaintiff is not

entitled to summary judgment on Count IV.



     5.       Defendants are Not Entitled to Summary Judgment on Their
              Affirmative Defenses Based on Either the First or the
              Fifth Amendment to the United States Constitution

     Defendants argue that the laws and regulations being applied

to them are unconstitutionally vague (under the Fifth Amendment) as

applied to their activities, and that the First Amendment shields



     253
       Plaintiff’s SOF, Docket Entry No. 152, p. 7 ¶ 47 (citing
Nemer Deposition, pp. 31:22-32:20, Exhibit 11 to Plaintiff’s MSJ,
Docket Entry No. 152-12, pp. 12-13; Deposition of Javier Loya
(“Loya Deposition”), p. 136:11-138:24, Exhibit 24 to Plaintiff’s
MSJ, Docket Entry No. 152-25, pp. 22-24); Defendants’ Counter SOF,
Docket Entry No. 168, pp. 14-15 ¶¶ 40 (citing Loya Supplemental
Declaration, Exhibit 1 to Defendants’ Counter SOF, Docket Entry
No. 168-2, p. 6 ¶ 22 (asserting that Nemer was responsible for
monitoring the account daily).

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their       conduct     from   regulation.254     Plaintiff        responds     that

Defendants’      vagueness     defense    fails    because    they    had     actual

knowledge that their actions were prohibited, and that their First

Amendment defense fails because the commercial speech doctrine does

not apply to commodities regulations.255



               (a)    Fifth Amendment Due Process: Vagueness

      Defendants argue that the laws and regulations being enforced

by the CFTC are unconstitutionally vague as applied to them because

the     laws    and    regulations   at    issue    did      not    provide     them

Constitutionally required notice of their application to block

trades.256     “The vagueness doctrine bars enforcement of ‘a statute

which either forbids or requires the doing of an act in terms so

vague that men of common intelligence must necessarily guess at its

meaning and differ as to its application.’”                   United States v.

Lanier, 117 S. Ct. 1219, 1225 (1997) (quoting Conally v. General

Construction Co., 46 S. Ct. 126, 127 (1926)).                       A law is not

impermissibly vague if a reasonable person would have known that

his conduct was at risk.          Maynard, 108 S. Ct. at 1857-58 (citing


      254
       See Defendants’ Memorandum in Support of Motion to Amend,
Docket Entry No. 122, pp. 26-32. See also Defendants’ Reply in
Support of Their MSJ, Docket Entry No. 174, 32.
      255
       Plaintiff’s Response in Opposition to Defendants’ Motion for
Leave to Amend, Docket Entry No. 129, pp. 5-10.
      256
       See Defendants’ Memorandum in Support of Motion to Amend,
Docket Entry No. 122, pp. 26-31.

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inter alia National Dairy Products, 83 S. Ct. at 598 (“Void for

vagueness simply means that . . . responsibility should not attach

where one could not reasonably understand that his contemplated

conduct is proscribed.”).

     Defendants argue that

     [f]or years the CFTC opposed insider trading regulation
     saying that insider trading could not occur in this
     industry and that such prohibitions should not be
     injected into the regulatory structure. After Congress
     changed that policy in Dodd-Frank, the CFTC floundered
     around trying to get the regulatory structure in place,
     leaving the industry in suspended animation, indeed
     turmoil. It never gave any notice that it would seek to
     apply this 10b-5 remedy to block trading where the
     practices attacked had long been legal and are still
     followed even today in certain investment areas. Eight
     years after enactment of Dodd-Frank, seven years after
     adoption of Regulation 180.1, and long after the events
     at issue the CFTC went back and cherry-picked [] twenty
     transactions out of more than 117,000 in the same period,
     and alleged that they were fraudulent, all as part of its
     “Insider Trading Task Force,” essentially a secret unit
     of some kind that even today it seeks to keep hidden from
     discovery.

          Furthermore, the CFTC’s reliance           on   Regulation
     155.4(b)(1) is remarkably off base.

          That Regulation prohibits the disclosure [that] “an
     order of another person is being held by the [IB] or any
     of its affiliated persons. . .” 17 C.F.R. § 155.4(b)(1).
     But . . . because block trades are privately negotiated,
     an IB must necessarily disclose to both counterparties
     that it is holding an order from the other. The CFTC’s
     application of that Regulation is completely nonsensical.

          This is all profoundly unfair and constitutes a
     grievous Due Process Notice violation of the Fifth
     Amendment.257



     257
           Id. at 28-29.

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     Defendants provide a lengthy discussion of the CFTC’s history

with respect to insider trading in an attempt to persuade the court

that they lacked notice that insider trading in commodities was

prohibited.      However, this argument is belied both by their own

understanding      of     Dodd-Frank   and     the   regulations   promulgated

thereunder, which show that essentially the same argument they now

make was raised and rejected during the rule making process, and by

undisputed evidence of their knowledge.258            Under questioning from

IFUS, the entity that runs the exchange on which he executed the

transactions at issue, Gizienski admitted that brokers could not

disclose the orders of their customers:

     Q:       What if a counterparty asked you who the other side
              of a deal was?

     A:       You can’t give up that information.    There is a
              confidentiality agreement between the broker and
              the traders, and . . . you know . . . no
              information I receive from one client goes to
              another.    That’s just ah . . . I mean that’s
              industry policy . . . I don’t even want to say
              that’s EOX policy . . . that is series 3
              compliance. That is an industry compliance policy.
              As a general rule 101 of being a broker you cannot
              disclose, unless you are brokering a physical
              market which I do not[,] I broker futures, and you
              can pass information when everything is cleared,
              you are not passing tangible names . . . just
              cleared.259




     258
           Id. at 6-15.
     259
       IFUS Interview of Andrew Gizienski, p. 24, Exhibit 40 to
Plaintiff’s SOF, Docket Entry No. 152-41, p. 25.

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EOX’s CEO, Loya, made a similar acknowledgment in an August 14,

2013, email that he sent to all Choice employees by stating,

“[o]bviously the futures markets impose regulations prohibiting .

.    .    trading    on    material       non-public     information         and   similar

abuses.”260

         Defendants provide no case law to suggest that either the

statutory provision or the regulations that the CFTC is seeking to

enforce        in   this     case   are      improperly      vague,     or    that    they

impermissibly         left    Defendants        in   doubt    as   to    whether     their

activities were subject to regulation and enforcement actions.

Moreover, since Defendants cannot be held liable for the violations

alleged        in   this   case     absent      proof   of    scienter,      Defendants’

vagueness concerns are not persuasive.                       See McFadden v. United

States, 135 S. Ct. 2298, 2307 (2015) (“a scienter requirement in a

statute alleviate[s] vagueness concerns”).                      See also Village of

Hoffman Estates v. Flipside, Hoffman Estates, Inc., 102 S. Ct.

1186, 1193 (1982) (“[T]he Court has recognized that a scienter

requirement may mitigate a law’s vagueness, especially with respect

to the adequacy of notice to the complainant that his conduct is

proscribed.”).             The    court    is    therefore     not      persuaded     that

Defendants’s Fifth Amendment arguments entitled them to summary

judgment on Counts I or II.


         260
       August 14, 2013, Email from Javier Loya to All Choice Envir
Employees, Exhibit 3, Docket Entry No. 129-1, p. 27, and Exhibit 70
to Plaintiff’s SOF, Docket Entry No. 152-71.

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           (b)    First Amendment: Freedom of Commercial Speech

     Defendants argue that the laws the CFTC are suing under

violate their rights to freedom of commercial speech protected by

the First Amendment.      Citing Zauderer v. Office of Disciplinary

Counsel of the Supreme Court of Ohio, 105 S. Ct. 2265 (1986),

Defendants argue that Plaintiff is seeking to hold them liable for

truthful disclosures of information to one of their clients that

they were duty-bound to disclose.261

     Plaintiff’s claims are rooted in its theory that Gizienski’s

failure to disclose to EOX’s customers that he was using the

Managed Account to trade for AC Power, that he was taking the other

side of their transactions on behalf of the Managed Account, and

that he was disclosing to Vaccaro confidential information obtained

from them without their consent were acts of fraud.           Defendants’

First Amendment argument is therefore unavailing because “the First

Amendment does not shield fraud.”         Illinois, ex. rel. Madigan v.

Telemarketing Associates, Inc., 123 S. Ct. 1829, 1836 (2003)

(citing Donaldson v. Read Magazine, Inc., 68 S. Ct. 591, 598

(1948)(the government’s power “to protect people against fraud” has

“always    been    recognized   in    this   country    and    is   firmly

established”)).     See also United States v. Alvarez, 132 S. Ct.

2537, 2547 (2012)     (“[F]raudulent speech generally falls outside



     261
       See Defendants’ Memorandum in Support of Motion to Amend,
Docket Entry No. 122, p. 31.

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the protections of the First Amendment.”) (citing Virginia State

Board of Pharmacy v. Virginia Citizens Consumer Council, Inc., 96

S. Ct. 1817, 1830 & n. 24 (1976) (recognizing that it may be

appropriate to require that a commercial message include additional

information as necessary to prevent its being deceptive)).             Both

the statute and the regulations on which Counts I and II are based

require scienter and prohibit fraud in commodities transactions.

“Explicit antifraud measures such as these do not violate the First

Amendment.”    Commodity Trend Service, Inc. v. Commodity Futures

Trading Commission, 233 F.3d 981, 993 (7th Cir. 2000) (holding that

other anti-fraud provisions of the CEA, 7 U.S.C. § 6o(1) and 17

C.F.R. 4.41(a), do not violate the First Amendment).

     Moreover, Defendants’ argument presumes that the section of

CEA and the regulations that the CFTC is seeking to enforce in this

action target speech — that is, the confidential information that

Gizienski is alleged to have disclosed without consent.                 But

neither the statute nor the regulations are directed at speech;

they are instead directed at the conduct of a person using speech,

i.e., disclosing and using order information in violation of duties

of trust and confidentiality.         “[I]t has never been deemed an

abridgment of freedom of speech . . . to make a course of conduct

illegal   merely   because   the    conduct   was   in   part   initiated,

evidenced, or carried out by means of language, either spoken,

written, or printed.” Ohralik v. Ohio State Bar Association, 98 S.


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Ct. 1912, 1918 (1978) (quoting Giboney v. Empire Storage & Ice Co.,

69 S. Ct. 684, 691 (1949)).       Stated another way, the government

“does not lose its power to regulate commercial activity deemed

harmful to the public whenever speech is a component of that

activity.”    Id. at 1919 (citing as examples, the exchange of

information about securities, S.E.C. v. Texas Gulf Sulphur Co., 401

F.2d 833 (2d Cir. 1968), cert. denied, 89 S. Ct. 1454 (1970), and

the exchange of price and production information among competitors,

American Column & Lumber Co. v. United States, 42 S. Ct. 114

(1921)). Defendants’ First Amendment arguments are not persuasive,

and the court concludes that they do not entitled Defendants to

summary judgment on Counts I and II.



                       V. Conclusions and Order

     For the reasons stated in § II, the court concludes that

Defendants have established good cause to amend their answer to

include two affirmative defenses, and Plaintiff has failed to

establish    that   the   proposed    amendments     would    be   futile.

Accordingly, Defendants’ Motion to Amend Revised Docket Control

Order to Grant Them Leave to File Amended Answer Adding Affirmative

Defenses, Docket Entry No. 121, is GRANTED.

     For the reasons stated in § III.B, Defendants’ Motion to

Strike the Forester Declaration is granted as to ¶¶ 8-10, 17-18,

20-21, 23, 25, 27-38, and denied as to the remaining paragraphs of


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the declaration.     For the reasons stated in § III.C, Defendants’

Motion to Strike the Dasso Declaration is granted.               Accordingly,

Defendants’ Motion to Strike Improper Declarations Submitted by

Plaintiff in Support of Its Motion for Summary Judgment, Docket

Entry No. 171, is GRANTED in PART and DENIED in PART.

     For the reasons stated in § IV.B.1, the court concludes that

neither Plaintiff nor Defendants are entitled to summary judgment

on Count I.      For the reasons stated in § IV.B.2, the court

concludes that neither Plaintiff nor Defendants are entitled to

summary   judgment    on   Count    II.     For   the    reasons   stated   in

§ IV.B.3(b)(1), the court concludes that Defendants are entitled to

summary judgment that EOX was not required to comply with the oral

record keeping mandate until the compliance date of December 21,

2013. For the reasons stated in § IV.B.4, the court concludes that

neither Plaintiff nor Defendants are entitled to summary judgment

on Count IV.       For the reasons stated in § IV.B.5 the court

concludes that Defendants are not entitled to summary judgment on

Counts I or II based on the affirmative defenses that they have

asserted under First and Fifth Amendments to the United States

Constitution.        Accordingly,    Plaintiff’s        Motion   for   Summary

Judgment, Docket Entry No. 150, is DENIED, and Defendants’ Motion

for Summary Judgment on Counts I & II and for Partial Summary

Judgment on Counts III & IV, Docket Entry No. 160, is GRANTED in

PART and DENIED in PART.


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     The court has allowed the parties extraordinary leeway in

submitting lengthy briefs and other written materials in connection
with the pending motions.       As the length of this Memorandum Opinion
and Order indicates,     the court has expended considerable time
reading these papers and          performing    a significant amount of
independent research in order to be as fully informed as possible
when addressing the parties' arguments.           Therefore no motions for
reconsideration    or   other    pretrial      motions   will   be   allowed.
Likewise, the court will not entertain motions in limine.                 The
court is familiar with the issues in the case and will rule on
objections to evidence at trial.
     The joint pretrial order will be filed by November 2, 2021,
and Docket call will be held on November 12, 2021, at 3:00 p.m. in
Courtroom 9-B,    9th Floor,      United States Courthouse,          515 Rusk
Avenue, Houston, Texas 77002.

     SIGNED at Houston, Texas, on this 30th day of September, 2021.




                                                SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




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